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                EXHIBIT G
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                           Expert Report: Alopecia in Women
                                  Jerry Shapiro, M.D.
                                     October 9, 2020
 I.      Qualifications/Publications
      1. I, Jerry Shapiro, am a physician specializing in medical hair and scalp disorders and am
         full Professor of Dermatology at the Ronald O. Perelman Department of Dermatology
         at the New York University Grossman School of Medicine, one of the top three
         dermatology programs in the United States. I am board certified in dermatology and
         licensed in New York. I received a Doctor of Medicine Degree from McGill
         University in 1981, after which I completed my residency in dermatology at the
         University of British Columbia in 1985. I am board certified in the United States and
         passed USMLE parts 1, 2, and 3 between 1981-1982. I am eligible to obtain a license
         and practice anywhere in the United States.
      2. I have specialized in hair disorders as both a practitioner and researcher for more than
         30 years. In that time, I have authored over 175 peer-reviewed manuscripts, including
         the sentinel Women’s Hair Loss review in the New England Journal of Medicine, as
         well as 3 textbooks and some 30 book chapters. I have given over 500 invited lectures
         on six continents, and have spoken at the prestigious annual American Academy of
         Dermatology meeting for 30 consecutive years. As early as 1986, I established the
         University of British Columbia Hair Research and Treatment Center, which was one
         of North America’s most comprehensive academic hair biology and treatment centers.
         While at the University of British Columbia Hair Research and Treatment Center, I
         regularly performed hair transplants and trained my fellows in hair transplant surgery.
         Today, some of my trainees are among the most formidable hair transplant surgeons
         in the world, including Asia and Europe.
      3. In my current practice, I run the first comprehensive medical hair loss clinic in the
         world—possibly the world’s busiest hair clinic. I consult with and treat patients in
         New York City from around the world with the latest medical treatment options. My
         clinical practice is 100% dedicated to treating patients for disorders of the hair and
         scalp.
      4. As part of my practice, I have and continue to participate in clinical trials for emerging
         hair loss treatments. I have served as a principal investigator on more than 10 such
         trials. As an investigator, I examine patients to assess and document the efficacy of

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           new treatments as well as any adverse events. I am familiar with the process of
           assessing and documenting treatment efficacy and adverse events according to clinical
           study protocols.
        5. In addition to my clinical practice, I serve as Professor of Dermatology at NYU School
           of Medicine, where I have taught since 2007. I am able to work with the best and
           most diverse medical students in the United States, as NYU Medical School is tuition
           free for all medical students. Fewer than 1% of applicants are accepted. I have trained
           and educated more than 30 international hair fellows from four continents. I also
           regularly speak about hair loss at national and international events and in media outlets.
           I frequently study, write and publish on hair and scalp disorders and related issues,
           including some 25 articles, abstracts and reviews published in the last year alone.
        6. I am a member of the American Academy of Dermatology, the American
           Dermatological Association, the New York Dermatologic Society (oldest dermatologic
           society in the United States), the European Academy of Dermatology and
           Venereology, the American Hair Research Society (where I served as President for
           three years), the European Hair Research Society, and numerous other professional
           societies.
        7. A more detailed description of my academic and professional activities is contained in
           the attached curriculum vitae (Exhibit A), which also lists my publications and articles
           from the previous 10 years and is hereby incorporated by reference.
 II.       List of Testimony for Last Four Years
        8. Please see Exhibit B, which is attached.
 III.      Materials Reviewed
        9. I base my opinions on: my education, training, and experience as a dermatologist; my
           knowledge of medical and scientific information reasonably relied on by members of
           my medical specialty; my review of pertinent medical and scientific literature; and my
           review of materials related to Elizabeth Kahn. A list of materials reviewed in forming
           my opinions is attached as Exhibit C. I am being compensated, without regard of the
           outcome of this litigation, $1000 per hour.
 IV.       General Opinions
           A. Overview
        10. As set forth in this report, I offer opinions on the following subjects to a reasonable

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       degree of medical probability:
                 The various types and causes of alopecia, the tests used to either determine or
                  rule out various types and causes of alopecia, and the application of these tests
                  and types to Plaintiff’s claimed alopecia;
                 Reliable approaches to dermatological examination and assessment for hair
                  loss, including pathological findings of various types of hair loss;
                 Chemotherapy and hair loss.
                 Types of hair loss experienced by Ms. Kahn.
       B. Hair Anatomy and Physiology
    11. My opinions are informed by the following aspects of hair anatomy and physiology.
         i.       The Hair Follicle
    12. The components of the hair follicle include the upper and lower segment, hair root
       (including root sheath), bulge, bulb, matrix, papilla, shaft, sebaceous gland, arrector
       pili muscle, the infundibulum, the isthmus, and stem cells. As discussed below,
       changes can occur to the hair follicle during the hair growth cycles, and changes can
       occur from certain types of alopecia.
        ii.       Vellus and Terminal Hair
    13. Certain follicular changes are associated with vellus and terminal hairs. Vellus hairs
       are very fine hairs that oftentimes can only be seen using a microscope. In contrast,
       terminal hairs are longer, thicker hairs. The average diameter of a terminal hair is 60-
       80 µm. The average diameter of a vellus is less than 30 µm. Hair follicles can change
       from producing a terminal hair to producing a vellus hair. Likewise, hair follicles can
       change from producing a vellus hair to producing a terminal hair. Many things can
       cause a hair follicle to change the type of hair it produces, including drugs, trauma, or
       androgens. When hair follicles change to produce different types of hair, they can also
       move to a different location in the dermis.
       iii.       The Hair Cycle
    14. There are four cycles of hair growth: the anagen, catagen, telogen, and exogen phase.
       The anagen phase is the growth phase. The catagen phase is the involution phase.
       The telogen phase is the resting phase. And the exogen phase is the shedding phase.
       During the anagen phase, the hair is growing. On the scalp, the anagen phase is the
       longest phase and, on average, lasts between three to seven years. The telogen phase

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         lasts, on average, three months.
         C. Hair Loss Scales
     15. Hair loss is often measured or categorized according to hair loss scales. Scales that are
         sometimes used include the Ludwig, Savin, and Norwood-Hamilton Scales.
         Depictions of the Ludwig, Savin, and Norwood-Hamilton scales are included as
         appendices at the end of this report (Figs. 9-11).
         D. Types of Alopecia
     16. As I describe in my treatise, Hair Loss in Women, it is estimated that more than one
         third of women have clinically significant hair loss during their lifetimes.1 Hair loss is
         clinically significant if medical treatment or masking efforts (e.g. wigs or caps) are
         appropriate. There are many different types of alopecia. The types of alopecia are
         broadly divided into scarring and non-scarring alopecia. Depending on the type of
         alopecia, the hair loss can be diffuse or focal. Additionally, within each category of
         alopecia the degree of severity of the alopecia can vary widely.
           i.    Androgenetic Alopecia
     17. The most common form of alopecia in women is androgenetic alopecia, which is also
         referred to as pattern hair loss. It is a non-scarring form of alopecia. Pattern hair loss
         is seen in both men and women (Fig. 1). Though it can effect hair all over the scalp,
         and in some cases presents as diffuse hair loss, pattern hair loss usually presents in a
         distinctive pattern affecting some parts of the scalp more than others. The hair loss
         typically occurs in the “androgen dependent” areas of the scalp at the crown and vertex
         and along the midline part, while the “androgen independent” areas at the back and
         sides of the head are “spared”—hair loss in these areas is less severe. This does not
         mean androgenetic alopecia “rarely involve[s] the frontal or occipital scalp,” as Dr.
         Tosti states in her report for Ms. Kahn.2 Prominent frontal thinning causing the part
         to resemble a “Christmas tree” is common in pattern hair loss among women. As Dr.
         Tosti testified before, “Christmas tree pattern means that the frontal scalp is more




 1 Shapiro, Jerry. “Hair loss in women.” New England Journal of Medicine 357.16 (2007): 1620-1630

   at 1620.
 2 Tosti, A., Kahn Report at 21 (Sept. 15. 2020).




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         affected, so the hairline is more affected than the back, like a Christmas tree.” 3 This
         presentation is known as “frontal accentuation” and is well documented in literature
         (Fig. 2).4 Also, in approximately one third of women hair loss at the back (occipital)
         and side areas is significant enough that they are not good candidates for hair
         transplantation due to insufficient donor area. The severity of the hair loss caused by
         androgenetic alopecia can vary from minimal to partial to complete baldness. 5
         Androgenetic alopecia can cause hair loss on the vertex.6 Androgenetic alopecia can
         result in the inability to grow the remaining hair to a normal length.




               Androgenetic alopecia in two patients with no history of chemotherapy. Figure 1 (L). The
          centroparietal portion of the scalp shows decreased hair density. Androgenetic alopecia can be quite
            severe, and progresses at different rates for different individuals.7 Figure 2 (R). Androgenetic
                   alopecia with frontal accentuation in a patient with no history of chemotherapy. 8

     18. Androgenetic alopecia is caused by two factors: genes and hormones. The word
         androgenetic refers to these two factors: andro- refers to androgens, the class of hormones



 3 Tosti, A. Dep. Tr. 221:10-13 (Dec. 4, 2018).
 4 Shapiro, Jerry. “Hair loss in women.” New England Journal of Medicine 357.16 (2007): 1620-1630

   at 1620; Olsen, Elise A. Female pattern hair loss. J Am Acad Dermatol 2001;45:Suppl 3:S70-S80.
 5 Shapiro, Jerry. “Hair loss in women.” New England Journal of Medicine 357.16 (2007): 1620-1630

   at 1620-21.
 6 Shapiro, Jerry. “Hair loss in women.” New England Journal of Medicine 357.16 (2007): 1620-1630

   at 1620-21.
 7 Shapiro, Jerry and Nina Otberg. Hair Loss and Restoration (2nd ed). CRC Press, 2015 ISBN 978-1-

   4822-3197-7.
 8 Shapiro, Jerry. “Hair loss in women.” New England Journal of Medicine 357.16 (2007): 1620-1630

   at 1622.

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         which trigger the process of hair thinning and loss, and -genetic refers to the role of
         genes in determining how hair follicles will respond to the presence of androgens.
         These two factors work in tandem to cause pattern hair loss.
     19. Hormones naturally vary throughout a woman’s life including during puberty,
         pregnancy and childbirth, menopause, and with continued aging after menopause.
         Hormones which affect hair loss can also vary due to other medical conditions or
         medicines which alter the hormone balance in a woman’s body. The female hormone
         estrogen tends to suppress the effects of androgens in advancing androgenetic hair
         loss. When estrogen decreases, for example after childbirth or menopause, or is
         suppressed by medicine, this tends to accelerate the process of androgenetic hair loss.
     20. There is no way to directly test for or measure the genes which cause pattern hair loss.
         Genetic potential for pattern hair loss is usually evident from family history. A woman
         can inherit genes associated with androgenetic hair loss from either side of her family,
         and may share these genes with either male or female siblings, or both. Even if
         someone has a genetic potential for androgenetic alopecia, they may not experience or
         notice significant hair loss during their lifetimes for a variety of reasons, including
         individual hormone balance factors and the timing of their death. Therefore, a woman
         may experience pattern hair loss even if it is not evident in her family history (or she
         is not aware of it). Ultimately, if a woman presents with hair loss in a pattern
         predominantly affecting androgen-dependent areas of her scalp, and sparing
         androgen-independent areas, that is a very strong indication that she is experiencing
         androgenetic alopecia.
     21. Pattern hair loss can develop any time after the onset of puberty, but by age 70,
         approximately 40% of women experience pattern hair loss. Androgenetic alopecia is
         progressive and incurable.9 Because androgenetic alopecia is gradual, women often
         will not notice the beginning stages of androgenetic alopecia, but rather will only notice
         once it becomes more pronounced.
     22. As androgenetic alopecia progresses, individual hairs become “miniaturized”—thinner



 9 Goldberg, L.J., “Postmenopausal Alopecia (Hair Loss),” chapter 11 in Essentials of Menopause
  Management, Pal and Sayegh ed., Springer pub., 2017 ISBN 978-3-319-42449-1.


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          and shorter. As a result, hair follicles may go from producing terminal hairs to
          producing vellus hairs, and the ratio of terminal to vellus hairs in an affected area will
          decrease. In addition, affected follicles may go from producing multiple hairs (typically
          two or three) to producing only one hair.10 In advanced stages of androgenetic
          alopecia, follicles may not produce any hair at all. These follicles can be seen as empty
          holes or spots on trichoscopy.11 With androgenetic alopecia, follicles may also be seen
          at higher levels of the dermis on pathology.
     23. Androgenetic alopecia progresses at different rates for different people. Genes and
          medical history including medication may make the process more rapid for some
          people than others. The balance of androgens to other hormones in the body may
          shift more quickly, and to a greater degree, for some people than others. The cycle of
          hair growth, rest, shedding, and regrowth takes different amounts of time for different
          people—causing the miniaturization process to be more condensed for some than
          others.     There is no standard rate or universal timeline for the progression of
          androgenetic alopecia.
     24. Other forms of hair loss including telogen and anagen effluvium can unveil underlying
          androgenetic alopecia. Combined with the fact that pattern hair loss often progresses
          to up to 50% hair loss without being noticed, this can create the impression that hair
          loss has occurred all at once when in fact it is the result of an ongoing androgenetic
          process. Androgenetic alopecia is not caused by chemotherapy.
           ii.      Telogen Effluvium
     25. Another form of alopecia is called telogen effluvium. Telogen effluvium is a relatively
          common cause of hair loss in women.12 Telogen effluvium results from a sudden shift
          of large numbers of anagen hairs to telogen hairs on an individual’s scalp. In other
          words, the hair loss occurs acutely and rapidly.13 This form of alopecia generally begins


 10 Rudnicka, Lydia, et al., eds. Atlas of Trichoscopy: Dermoscopy in Hair and Scalp Disease.
    Springer pub., 2012 ISBN 978-1-4471-4485-4.
 11 Rudnicka, Lydia, et al., eds. Atlas of Trichoscopy: Dermoscopy in Hair and Scalp Disease.

    Springer pub., 2012 ISBN 978-1-4471-4485-4.
 12 Goldberg, L.J., “Postmenopausal Alopecia (Hair Loss),” chapter 11 in Essentials of Menopause

    Management, Pal and Sayegh ed., Springer pub., 2017 ISBN 978-3-319-42449-1.
 13 Goldberg, L.J., “Postmenopausal Alopecia (Hair Loss),” chapter 11 in Essentials of Menopause
    Management, Pal and Sayegh ed., Springer pub., 2017 ISBN 978-3-319-42449-1.


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         approximately three months after a major illness or stressor, such as nutritional
         deficiency, surgery, hormonal disorder, or sudden weight loss. It has also been
         reported after the initiation of treatment with certain medications, including general
         anesthetics. In some patients, telogen effluvium can last for years.14 Telogen effluvium
         can “unmask” or make androgenetic alopecia and other underlying forms of hair loss
         more apparent.15 This is a non-scarring form of hair loss.
         iii.    Anagen Effluvium
     26. Another form of alopecia is anagen effluvium. This form of alopecia is associated
         with cytotoxic chemotherapy drugs that affect fast-growing cells, including anagen hair
         cells. This causes these cells to stop dividing, leading to the release of anagen hair
         (which is the majority of hair on the head) usually within a few weeks of the first
         chemotherapy infusion. Cytotoxic chemotherapy drugs do not operate hormonally.
         As such, the type of hair loss does not present in a pattern or affect some parts of the
         scalp more than others. In fact, anagen effluvium can and often does entail loss of
         hair all over the body. This is a non-scarring form of hair loss. Hair generally grows
         back after anagen effluvium. Like telogen effluvium, anagen effluvium can make
         androgenetic and other underlying forms of hair loss more apparent.
          iv.    Alopecia Areata

     27. Another type of non-scarring alopecia is alopecia areata (Fig. 3). It usually appears
         as round patches of alopecia that may become multifocal and may coalesce into large
         areas affecting more than 50% of the scalp. Occasionally, it can appear as diffuse
         generalized alopecia.16 Alopecia areata can progress to total loss of scalp hair, called
         alopecia totalis, or a total loss of body hair, called alopecia universalis. The hair loss
         caused by alopecia areata can last for many years. Alopecia areata occurs when the
         immune system attacks the hair follicles, which causes hair loss.             This is an
         autoimmune process. Likewise, persons with thyroid conditions are more susceptible
         to this form of alopecia. Alopecia areata can cause hair loss on parts of the body
         besides the head. Alopecia areata is not caused by chemotherapy.



 14 Shapiro, Jerry. “Hair loss in women.” New England Journal of Medicine 357.16 (2007): 1620-1630.
 15 Tosti, A. Dep. Tr. 88:6-10 (Dec. 4, 2018).
 16 Shapiro, Jerry. “Hair loss in women.” New England Journal of Medicine 357.16 (2007): 1620-1630.


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                Figure 3. Alopecia areata with round, random patches of hair that coalesce17
          v.    Traction Alopecia
     28. Traction alopecia can become a scarring form of alopecia, which is caused by hair care
         practices (Fig. 4). In particular, glues, braiding, weaves, cornrows, extensions, heavy
         locks, ponytails, rollers, hot combs, back brushing, or wearing tight hair styles can
         result in traction alopecia. Traction alopecia is very common among people with skin
         of color, especially African American women. Even so, it can been seen among all
         ethnic groups and ages. Symptoms associated with traction alopecia include bumps,
         redness, or tenderness, though traction alopecia can present without those symptoms.
         Clinical findings associated with traction alopecia include: patches of alopecia
         frequently seen in the temporal regions, a fringe sign, and signs of breakage is
         consistent with traction alopecia. Traction alopecia can be seen over the entire scalp.
         Traction alopecia is not caused by chemotherapy.




                                         Figure 4. Traction alopecia18



 17 Shapiro, Jerry. “Hair loss in women.” New England Journal of Medicine 357.16 (2007): 1620-1630

   at 1623.
 18 Lawson, Christina N. et. al. “Updates in the understanding and treatments of skin & hair disorders

   in women of color.” International Journal of Women's Dermatology 1.2 (2015): 59-75.

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          vi.    Central Centrifugal Cicatricial Alopecia
     29. Central Centrifugal Cicatricial Alopecia (“CCCA”) is another form of scarring hair
         loss. It is seen in African American women. CCCA can begin insidiously and, over
         time, it will spread. It often initially appears in a pattern that mimics androgenetic
         alopecia on the crown and then will spread out in a circular pattern (Fig. 5). CCCA
         can progress rapidly. CCCA causes destruction of the hair follicle and scarring, which
         leads to permanent hair loss. CCCA can present with symptoms of burning, itching,
         tingling, tenderness, or pain on the scalp. In contrast, it can present with no symptoms
         at all. CCCA can also present with inflammation. While the cause of CCCA is not
         well understood, CCCA is not caused by chemotherapy.




                            Figure 5. Central centrifugal cicatricial alopecia19
         vii.    Endocrine Therapy Induced Alopecia
     30. Endocrine therapy-induced alopecia after chemotherapy (“EIAC”) is a non-scarring
         form of alopecia.20 Women with estrogen (ER) or progesterone receptor (PR) positive
         breast cancers are often treated with estrogen-suppressing endocrine therapies
         including Tamoxifen or Aromatase Inhibitors.                Both Tamoxifen and Aromatase




 19 Olsen, Elise A. “Female Pattern Hair Loss and its Relationship to Permanent/Cicatricial Alopecia:
    A New Perspective.” Journal of Investigative Dermatology Symposium Proceedings 10.3 (2005):
    217-221.
 20 Freites-Martinez, Azael, et al. “Assessment of Quality of Life and Treatment Outcomes of Patients

    with Persistent Postchemotherapy Alopecia.” Journal of the American Medical Association
    Dermatology 155.6 (2019): 724-728.


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         Inhibitors can cause alopecia.21 Because endocrine therapies directly affect the balance
         of male and female hormones in a woman’s body, hair loss seen with Tamoxifen and
         Aromatase Inhibitors can mimic androgenetic alopecia. The hair loss seen with these
         treatments can be very severe (Fig. 6). Patients given chemotherapy drugs will
         generally undergo anagen effluvium and will lose all of their hair. Then, after they
         complete their chemotherapy regimen, women with ER+ or PR+ cancers will begin
         taking either Tamoxifen or an Aromatase Inhibitor.              These medications are often
         taken for many years after chemotherapy and, sometimes, indefinitely—and can lead
         to a permanent androgenetic pattern, as well as significant hair thinning. 22




                              Figure 6. Endocrine therapy induced alopecia23



 21 Park, Jin, et al. “Pattern alopecia during hormonal anticancer therapy in patients with breast

    cancer.” Annals of dermatology 26.6 (2014): 743-746; Gallicchio, Lisa, Carla Calhoun, and Kathy
    Helzlsouer. “A prospective study of aromatase inhibitor therapy initiation and self-reported side
    effects.” Supportive Care in Cancer 25.9 (2017): 2697-2705; Gallicchio, Lisa, Carla Calhoun, and
    Kathy J. Helzlsouer. “Aromatase inhibitor therapy and hair loss among breast cancer survivors.”
    Breast cancer research and treatment 142.2 (2013): 435-443; Saggar, Vishal, et al. “Alopecia with
    endocrine therapies in patients with cancer.” The oncologist 18.10 (2013): 1126-1134; Ayoub, J. P.,
    Vicente Valero, and Gabriel N. Hortobagyi. “Tamoxifen-induced female androgenetic alopecia in a
    patient with breast cancer.” Annals of internal medicine 126.9 (1997): 745.
 22 Gallicchio, Lisa, Carla Calhoun, and Kathy Helzlsouer. “A prospective study of aromatase

    inhibitor therapy initiation and self-reported side effects.” Supportive Care in Cancer 25.9 (2017):
    2697-2705; Gallicchio, Lisa, Carla Calhoun, and Kathy J. Helzlsouer. “Aromatase inhibitor therapy
    and hair loss among breast cancer survivors.” Breast cancer research and treatment 142.2 (2013):
    435-443; Saggar, Vishal, et al. “Alopecia with endocrine therapies in patients with cancer.” The
    oncologist 18.10 (2013): 1126-1134; Ayoub, J. P., Vicente Valero, and Gabriel N. Hortobagyi.
    “Tamoxifen-induced female androgenetic alopecia in a patient with breast cancer.” Annals of
    internal medicine 126.9 (1997): 745.
 23 Saggar, Vishal, et al. “Alopecia with endocrine therapies in patients with cancer.” The oncologist
    18.10 (2013): 1126-1134.


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         viii.    Lichen Planopilaris
     31. Lichen Planopilaris (“LPP”) is a scarring form of alopecia. LPP is an inflammatory
         condition that causes patchy, progressive hair loss. LPP can present with symptoms
         of scaling, redness, pain, burning, itching, or tenderness on the scalp, although there
         may be no symptoms. While the cause of LPP is not well understood, it is thought to
         be an autoimmune disorder, which can be triggered by a variety of factors. LPP can
         cause hair loss on parts of the body besides the head.                    LPP is not caused by
         chemotherapy.
          ix.     Frontal Fibrosing Alopecia
     32. Frontal Fibrosing Alopecia (“FFA”) is a condition that often appears with a slow
         recession of the frontal hairline across the forehead, with scarring along the front of
         the scalp and sometimes the sides of the scalp (Fig. 7). This form of alopecia can
         result in loss of eyebrows and body hair.24 FFA is not caused by chemotherapy.




                 Figure 7. Frontal fibrosing alopecia with symmetrical band-like loss of hair25
     33. There are several other types of alopecia not surveyed in detail here, but on which I
         am qualified to give opinions.
           x.     Overlapping Types of Alopecia



 24 Goldberg, L.J., “Postmenopausal Alopecia (Hair Loss),” chapter 11 in Essentials of Menopause

   Management, Pal and Sayegh ed., Springer pub., 2017 ISBN 978-3-319-42449-1.
 25 Lawson, Christina N. et. al. “Updates in the understanding and treatments of skin & hair disorders

   in women of color.” International Journal of Women's Dermatology 1.2 (2015): 59-75.

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     34. One patient complaining of hair loss could be experiencing multiple forms of alopecia
         at the same time. For example, a patient may have components of androgenetic
         alopecia, CCCA, and traction alopecia affecting her at once. One form of alopecia
         may make another form of alopecia more apparent, or make it appear to manifest
         more suddenly than it otherwise would.
         E. Causes of Alopecia
     35. The causes of any one type of alopecia can be multifactorial. Age is a basic cause of
         alopecia.26 For example, androgenetic alopecia becomes both more common and
         more severe with age.27 Likewise, menopause is a cause of alopecia.28 Approximately
         41% of postmenopausal women will experience hair loss.29 When women go through
         menopause, their hormone levels change. More specifically, the cessation of ovarian
         estrogen production results in an increase in their levels of androgens, while their
         estrogen levels decrease.30 This can cause pattern hair loss to manifest or accelerate.
         Likewise, surgeries, such as ovary removal, can cause an abrupt shift in hormone levels
         and can cause alopecia. Similarly certain medications designed to inhibit estrogen
         production can result in hair loss. Consequently, alopecia can be caused by hormone
         imbalance and increased androgen levels.
     36. Medical conditions can result in alopecia. For example, organ dysfunction can result
         in alopecia. Likewise, endocrine disorders can result in alopecia. For instance,
         abnormally high or low thyroid hormone levels can result in alopecia. Autoimmune
         diseases or disorders, such as lupus can cause alopecia. The same can be said for
         kidney and liver dysfunction, which can result in alopecia. Examples of other medical



 26 Ali, I., and F. Wojnarowska. “Physiological changes in scalp, facial and body hair after the

    menopause: a cross‐sectional population‐based study of subjective changes.” British Journal of
    Dermatology 164.3 (2011): 508-513 at 508-09.
 27 Goldberg, L.J., “Postmenopausal Alopecia (Hair Loss),” chapter 11 in Essentials of Menopause

    Management, Pal and Sayegh ed., Springer pub., 2017 ISBN 978-3-319-42449-1.
 28 Ali, I., and F. Wojnarowska. “Physiological changes in scalp, facial and body hair after the

    menopause: a cross‐sectional population‐based study of subjective changes.” British Journal of
    Dermatology 164.3 (2011): 508-513 at 508.
 29 Goldberg, L.J., “Postmenopausal Alopecia (Hair Loss),” chapter 11 in Essentials of Menopause

    Management, Pal and Sayegh ed., Springer pub., 2017 ISBN 978-3-319-42449-1.
 30 Goldberg, L.J., “Postmenopausal Alopecia (Hair Loss),” chapter 11 in Essentials of Menopause
    Management, Pal and Sayegh ed., Springer pub., 2017 ISBN 978-3-319-42449-1.


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         conditions that can cause alopecia include sarcoidosis and skin malignancy.
     37. Being underweight or overweight can result in alopecia. A clustering of medical
         conditions called Metabolic Syndrome can result in alopecia.31 In addition, diabetes or
         insulin resistance can result in alopecia.32 Polycystic ovary disease can also result in
         alopecia.33 Hypertension and coronary artery disease has also been associated with
         alopecia.34 Dyslipidemia is associated with alopecia.35       Numerous other factors can
         cause alopecia (either alone or in conjunction), including:
                Vitamin and nutritional deficiencies can result in alopecia.36 For example, both
                 high and low Vitamin A levels can result in diffuse alopecia. Vitamin D
                 deficiency may lead to diffuse alopecia. Similarly, iron or zinc deficiencies can
                 lead to diffuse alopecia.
                Exposures to various substances can cause alopecia. For instance, exposure
                 to radiation, thallium, or mercury can cause hair loss.
                Infections, such as Tinea Capitis, can cause alopecia. In addition, other forms



 31 Lie, Cheryl, Choon Fong Liew, and Hazel H. Oon. “Alopecia and the metabolic syndrome.”

    Clinics in dermatology 36.1 (2018): 54-61; Roth, Maria Magdalena, Nicholas Leader, and George
    Kroumpouzos. “Gynecologic and andrologic dermatology and the metabolic syndrome.” Clinics in
    dermatology 36.1 (2018): 72-80; Uzuncakmak, Tuğba Kevser, Necmettin Akdeniz, and Ayse Serap
    Karadag. “Cutaneous manifestations of obesity and themetabolic syndrome.” Clinics in
    dermatology 36.1 (2018): 81-88; El Sayed, Mahira H., et al. “Association of metabolic syndrome
    with female pattern hair loss in women: a case–control study.” International journal of
    dermatology 55.10 (2016): 1131-1137.
 32 Lie, Cheryl, Choon Fong Liew, and Hazel H. Oon. “Alopecia and the metabolic syndrome.”

    Clinics in dermatology 36.1 (2018): 54-61; Roth, Maria Magdalena, Nicholas Leader, and George
    Kroumpouzos. “Gynecologic and andrologic dermatology and the metabolic syndrome.” Clinics in
    dermatology 36.1 (2018): 72-80.
 33 Lie, Cheryl, Choon Fong Liew, and Hazel H. Oon. “Alopecia and the metabolic syndrome.”

    Clinics in dermatology 36.1 (2018): 54-61; Roth, Maria Magdalena, Nicholas Leader, and George
    Kroumpouzos. “Gynecologic and andrologic dermatology and the metabolic syndrome.” Clinics in
    dermatology 36.1 (2018): 72-80.
 34 Lie, Cheryl, Choon Fong Liew, and Hazel H. Oon. “Alopecia and the metabolic syndrome.”

    Clinics in dermatology 36.1 (2018): 54-61; Roth, Maria Magdalena, Nicholas Leader, and George
    Kroumpouzos. “Gynecologic and andrologic dermatology and the metabolic syndrome.” Clinics in
    dermatology 36.1 (2018): 72-80.
 35 Lie, Cheryl, Choon Fong Liew, and Hazel H. Oon. “Alopecia and the metabolic syndrome.”

    Clinics in dermatology 36.1 (2018): 54-61; Roth, Maria Magdalena, Nicholas Leader, and George
    Kroumpouzos. “Gynecologic and andrologic dermatology and the metabolic syndrome.” Clinics in
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 36 Lie, Cheryl, Choon Fong Liew, and Hazel H. Oon. “Alopecia and the metabolic syndrome.”

    Clinics in dermatology 36.1 (2018): 54-61.

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                 of primary infections, such as kerion, or secondary infections, such as syphilis,
                 can result in alopecia.
                A family history of alopecia in either the father’s side or mother’s side (or both)
                 can predispose a woman to alopecia.
                Stress, illness, and physical trauma can cause alopecia. For example, surgery
                 can cause alopecia.
                Very severe seborrheic dermatitis or psoriasis can cause alopecia.
                Hair care practices can cause alopecia, such as: perms, dyes, bleach,
                 straighteners, hot oils, relaxers, glues, braiding, weaves, cornrows, extensions,
                 heavy locks, ponytails, rollers, hot combs, back brushing, or wearing tight hair
                 styles.   Additionally, hair loss can be caused by hair pulling, hair twisting, or
                 obsessive/compulsive disorders.
         Other forms of trauma can result in alopecia, including burns.
     38. In addition to endocrine therapies, other medications that are known to cause alopecia
         include but are not limited to: general anesthetics, enzyme inhibitors, interferon alfa,
         beta blockers, retinoids, antibiotics, exogenous androgens, psychotropic agents,
         ramipril, terbinafine, isotretinoin, acetretin, lithium, timolol, heparin, buspirone,
         captopril, valproic acid, coumadin, verapamil, allopurinol, cetirizine, cyclosporine,
         lovastatin, nifedipine, warfarin, acyclovir, carbamazeprine, leuprolide, amiodarone,
         azathioprine, dopamine, gold, lamotrigine, amitriptyline, naproxen, omeprazole,
         paroxetine, prazosin, sertraline, venlafaxine.37
     39. Conversely, while certain medications are known to cause alopecia, stopping some
         medications can also result in alopecia. As an example, stopping use of an oral
         contraceptive can cause alopecia.38 Pre-menopausal women with ER+ or PR+ breast
         cancer are told to stop using oral contraceptives because of concerns about putting
         estrogen in the body, which can worsen the cancer.
         F. Alopecia Not on the Scalp



 37 Goldberg, L.J., “Postmenopausal Alopecia (Hair Loss),” chapter 11 in Essentials of Menopause

   Management, Pal and Sayegh ed., Springer pub., 2017 ISBN 978-3-319-42449-1.
 38 Goldberg, L.J., “Postmenopausal Alopecia (Hair Loss),” chapter 11 in Essentials of Menopause
   Management, Pal and Sayegh ed., Springer pub., 2017 ISBN 978-3-319-42449-1.


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     40. Losing body hair is a normal part of aging.39 For example, many women lose pubic
         hair and armpit hair as part of the aging process. This is because many parts of the
         body where hair grows are impacted by hormones. Consequently, when hormone
         levels change, such as with aging or certain types of drug use, women have a tendency
         to lose hair on different parts of the body. Further, hair loss on parts of the body can
         have many other causes, including but not limited to trauma, thyroid conditions,
         autoimmune conditions, neoplasms, and various medications.40
     41. There are many causes of eyebrow and eyelash loss and thinning. For instance, thyroid
         disease causes eyebrow loss. Likewise, many forms of alopecia can cause hair loss on
         parts of the body besides the head. For example, women can lose eyelashes and/or
         eyebrows from alopecia areata, FFA, or LPP, in addition to many other factors.
         Women’s eyebrows and eyelashes also thin with age, hormonal status, and as a
         consequence of grooming.
         G. Diagnosing the Type and Cause of Alopecia
     42. Diagnosing the type of alopecia (or alopecias) can be very difficult.                 Likewise,
         determining the precise cause of alopecia can be very difficult and, in many cases,
         impossible due to the multifactorial nature.
     43. There are different types of tests that can be run to help determine the type and cause
         of alopecia. Even if the type of alopecia can be established, diagnosing the exact cause
         of the alopecia can be difficult. Some forms of alopecia have known causes, others
         do not. In addition, because hair loss can be multifactorial, parsing out what is the
         cause of alopecia in any given person can be difficult and sometimes impossible. It is
         important to have a full and accurate clinical history at each stage of the diagnosis in
         assessing the type of potential cause of alopecia.
           i.    Family, Medical, and Hair Care History
     44. A dermatologist seeking to assess types and causes of alopecia must take a full family
         and medical history from the patient and inquire about past and present hair care



 39 Ali, I., and F. Wojnarowska. “Physiological changes in scalp, facial and body hair after the

    menopause: a cross‐sectional population‐based study of subjective changes.” British Journal of
    Dermatology 164.3 (2011): 508-513 at 508-09.
 40 Velez, Nicole, Pooja Khera, and Joseph C. English. “Eyebrow loss.” American journal of clinical

    dermatology 8.6 (2007): 337-346.

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       practices. The physician should find out whether the patient’s parents, grandparents,
       siblings, or children experienced hair loss. The physician should also inquire whether
       any of these family members were known to have health issues associated with
       alopecia, such as hormone or autoimmune disorders, or died before the most common
       forms of hair loss (pattern hair loss and menopause/hormone-related hair loss)
       typically manifest. Family history is one of the strongest indicators of hereditary forms
       of hair loss.
    45. A patient’s medical history can identify potential underlying causes of alopecia such as
       hormonal imbalances and autoimmune disorders. In addition, medical conditions can
       provide evidence of how long hair loss has lasted, and whether it has progressed
       gradually. For example, actinic keratosis is a skin condition often caused by sun
       exposure over many years—typically a decade or more. Knowing that a patient has
       been diagnosed with actinic keratosis on an area of skin normally covered by hair
       would suggest that alopecia in that area had likely progressed for over a decade
       predating the diagnosis. One of the questions I ask each and every patient is, “when
       was the last time your hair was normal?” Changes in hair care or styling (for example,
       combing over or teasing hair to make it appear fuller) can indicate an effort to
       camouflage progressing hair loss and can help indicate how long hair loss has lasted.
        ii.   Blood Work
    46. When determining the type and cause of alopecia, blood tests are frequently
       conducted.      Blood tests can often rule out whether there are vitamin, iron, or
       nutritional deficiencies, hormonal imbalances, as well as autoimmune disorders that
       may be a source of the alopecia, such as thyroid conditions.
       iii.   Dermoscopy and Trichoscopy
    47. Dermoscopy is a way of looking at skin under magnification. It is used for a variety
       of dermatological purposes, including diagnosis of skin abnormalities and disorders,
       to guide surgical procedures like biopsies, and to assess treatment outcomes.
    48. Trichoscopy is scalp dermoscopy. In general, it allows a dermatologist to examine the
       scalp, measure and count hairs and hair follicles, and observe clinical features such as
       yellow, black or white dots, fibrosis, follicle morphology, and hair breakage. It can be
       useful in identifying possible clinical diagnoses.     Additionally, it is useful when
       determining which portions of the scalp to biopsy.

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    49. There are certain findings that a dermatologist may see when conducting trichoscopy
        that are correlated with certain types of alopecia. For instance, while it is not definitive,
        trichoscopy can be useful in determining if the alopecia is scarring or non-scarring.
        iv.    Scalp Biopsies and Pathology
    50. Scalp biopsies and appropriate pathology handling and interpretation are critical to
        correct assessment of hair loss. Clinical and histopathological presentation must be
        properly considered in differentiating various forms of alopecia.
    51. A correctly performed scalp biopsy is the standard test used to diagnose the type of
        alopecia. Even so, at times, scalp biopsies cannot definitively establish the exact type
        of alopecia. Scalp biopsies, however, generally can be used to determine whether the
        alopecia is scarring or non-scarring. When examining scalp biopsies, non-scarring
        alopecia is characterized by an absence of fibrosis formation/scarring.
    52. In order to do accurate follicular counts, biopsy samples should be sectioned from
        subcutaneous fat all the way up to the papillary dermis. This allows the pathologist to
        evaluate hairs at all levels of the dermis, including vellus hairs as well as hairs in all
        stages of the hair growth cycle (e.g., telogen hairs).
    53. Because there are many forms of alopecia and a single scalp may have multiple forms
        of alopecia at the same time, scalp biopsies should be taken from all portions of the
        scalp that look different from other portions. Additionally, a scalp biopsy is often
        taken from an unaffected portion of the scalp so that it can be compared with the
        affected areas. Each biopsy should be a 4 mm biopsy with enough depth.
    54. In clinical practice, dermatologists rarely take a scalp biopsy of a non scarring hair loss
        problem on the patient’s first visit. Instead, dermatologists generally see patients over
        a period of time before performing a punch biopsy. By seeing patients over time,
        dermatologists can see how patients respond to various forms of treatment, which can
        be informative in diagnosing the type of alopecia. Dermatologists should have a
        detailed clinical history for the patient before conducting a scalp biopsy.
    55. When I see patients for alopecia, I create medical records. General dermatology
        practices dictate that those records include information about a patient’s clinical
        history, medical problems, nutritional history, hair care practices, alternative possible
        causes of alopecia, and therapeutic plan.
    56. A dermatologist takes the biopsies. The dermatologist should determine where on the

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        scalp to take the biopsies and how many biopsies should be taken. Trichoscopy can
        be useful in determining where on the scalp the biopsy should be taken from. Whether
        the dermatologist believes the alopecia to be scarring or non-scarring will impact the
        location on the scalp where each biopsy is taken from.
    57. After a dermatologist takes a biopsy, those biopsies are then sent to a pathologist to
        be sectioned, slides created, and the pathology read. When sending the biopsies, the
        dermatologist also sends a requisition form to the pathologist. The requisition form
        provides the pathologist with patient demographics, the clinical history, as well as the
        potential clinical diagnoses.     The pathologist needs that information from the
        dermatologist to make an accurate pathological diagnosis. Without that information,
        the pathologist’s pathological diagnosis has a much greater rate of error.
    58. Dermatologists generally include a clinical history section in their reports. Pathologists
        also generally include differential diagnoses on their pathology report. That is because
        pathological findings often correspond to multiple types of alopecia.
    59. When looking at pathology samples from punch biopsies, pathologists conduct hair
        counts. There are average hair counts seen in a 4 mm punch biopsy, but there is a
        range of hair counts that fall within the normal range, and some differences between
        ethnicities, age and each patient’s baseline.
    60. There are no unique pathological findings for alopecia associated with chemotherapy,
        whether it is classified as “temporary” or “persisting.”         Pathology can rule out
        chemotherapy as a cause of alopecia, but it cannot determine whether any particular
        chemotherapy drug caused the alopecia, particularly when many patients receive a
        combination of several chemotherapies associated with alopecia.
    61. In my clinical practice, my preference for a patient’s first dermatological visit is to
        examine a patient before seeing any pathological findings.           It is unusual to see
        pathological findings before examining a patient, which can lead to bias and incorrect
        diagnoses.
        H. Treating Alopecia
    62. The types and causes of a patient’s alopecia determine the treatment options for that
        patient’s alopecia. Likewise, responsiveness to treatment helps inform diagnoses of
        types and causes of hair loss. In particular, it is not possible to conclude to a reasonable
        medical probability that alopecia is not responsive to treatment (that is, that the

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       alopecia is permanent or irreversible) without first attempting known treatment
       options.
               a. Treating Common Forms of Alopecia
    63. For androgenetic alopecia, treatment efforts focus on stopping or slowing hair
       miniaturization. Topical minoxidil is the most common treatment for androgenetic
       alopecia. Other treatments include low-dose oral minoxidil, spironolactone, anti-
       androgens, platelet-rich plasma injections, and hair transplants.
    64. Diagnosis and treatment of telogen effluvium requires a thorough review and
       consideration of histologic and clinical evidence for specific potential factors. Where
       major illness or stress, nutritional deficiency, medication use, or hormonal
       abnormalities are potential factors, treatment should be attempted through lifestyle
       changes, psychological treatment, diet or medication changes, hormonal treatment or
       the like. Where such changes are impossible (for example, due to ongoing medical
       conditions or treatment), telegen effluvium cannot be ruled out as a potential
       diagnosis.
    65. Like telogen effluvium, treatment of anagen effluvium requires a consideration of
       potential histological factors. Where a medication such as chemotherapy or hormone
       therapy is a factor in anagen effluvium, resolution requires discontinuation of the
       medication.
    66. The causes and treatment options for alopecia areata are still poorly understood. The
       frequent association of alopecia areata with autoimmune diseases, has led to some
       efforts to treat alopecia areata with autoimmune disease medications such as
       tofacitinib. Some success has been reported with these efforts.
    67. Traction alopecia and CCCA are both scarring (permanent) alopecias. They may best
       be avoided by avoiding tight hairstyles and harsh hair care practices, such as chemical
       and heat processing. Where hair care or other factors lead to inflammation of non-
       scarred scalp, however, injection with corticosteroid such as triamcinolone acetonide
       (kenalog) may result in some increased hair growth.
    68. Lichen planopilaris is a scarring form of alopecia. Because LPP may present with
       inflammation or other scalp irritation, corticosteroid injection may provide some relief,
       and hair growth in adjacent inflamed areas of the scalp. Autoimmune treatment may
       also be attempted.

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     69. Treatments for frontal fibrosing alopecia include finasteride or dutasteride,
         hydroxychloroquine, corticosteroids, antibiotics such as tetracycline and doxycycline,
         calcineurin    inhibitors, phototherapy, and immunomodulatory drugs such as
         mycophenolate mofetil. Some of these drugs are administered topically, some orally,
         and some by intralesional injection.
     70. The consideration of common hair loss factors such as age, menopausal status, medical
         history, conditions, and treatments, overall health and nutrition, environmental
         factors, family history, and hair care practices also informs what treatment options
         should be considered. Where multiple potential hair loss factors are present, multiple
         or multi-faceted treatment efforts may be necessary for accurate diagnosis and
         effective treatment. One cannot diagnose a patient’s hair loss as permanent to a
         reasonable medical probability without attempting treatment and considering the
         results.
                    b. Treating Persistent Alopecia After Chemotherapy
     71. It cannot be said with reasonable medical probability that any alopecia caused by a
         chemotherapy agent is permanent. On the contrary, there are case reports of even
         persistent alopecia after chemotherapy ultimately resolving. Further, there are case
         reports that persistent alopecia after chemotherapy is treatable with minoxidil and
         other treatments.41    If a person claims that they have “permanent” alopecia after
         chemotherapy, but has not made repeated, sustained efforts to treat the alopecia, it is
         impossible to know if the alopecia could be reversible.
         I. Taxotere
     72. Taxotere is a chemotherapy drug in a class of drugs called taxanes. Docetaxel is the
         generic name of the drug. Taxotere is used to treat various forms of cancer, including
         breast cancer in an adjuvant (after surgery) or neo-adjuvant (before surgery) setting.
     73. In this setting, Taxotere is given as part of a chemotherapy regimen, containing




 41 Pires, Eugénia Matos, Rita Ramos Pinheiro, and André Lencastre. “Case of permanent

   chemotherapy-induced alopecia with response to topical minoxidil.” Revista da Sociedade
   Portuguesa de Dermatologia e Venereologia 75.3 (2018): 297-299; Freites-Martinez, Azael, et al.
   “Assessment of Quality of Life and Treatment Outcomes of Patients with Persistent
   Postchemotherapy Alopecia.” Journal of the American Medical Association Dermatology 155.6
   (2019): 724-728.

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         multiple chemotherapy drugs. The chemotherapy drugs given in addition to Taxotere
         depend on the type of breast cancer,                   but often include         Adriamycin,
         Cytoxan/Cyclophosphamide, Carboplatin, and Herceptin.
         J. Alopecia After Chemotherapy
     74. Many chemotherapy drugs, including Taxotere, are known to cause alopecia in the
         form of anagen effluvium. Additionally, approximately 65% of people who have
         undergone chemotherapy experience a change from their previous hair, including
         differences in texture, thickness, density, or color.              This means that after
         chemotherapy, a woman’s hair might be more coarse, thinner, or different in
         appearance and density than before chemotherapy. It may be several years before hair
         will go back to normal. This is a widely-known side effect of chemotherapy.
     75. Many chemotherapy drugs cause alopecia, and persistent or “permanent” alopecia has
         been reported with regimens including the following drugs:
                 Doxorubicin42
                 Cyclophosphamide43
                 Carboplatin44


 42 Masidonski, Pat, Mahon, Suzanne M. “Permanent alopecia in women being treated for breast

    cancer.” Clinical journal of oncology nursing 13.1 (2009): 13-14; Crown, John P., et al. “Incidence
    of permanent alopecia following adjuvant chemotherapy in women with early stage breast cancer.”
    Journal of clinical oncology (2017): e21576; Yeager, Caroline E., and Elise A. Olsen. “Treatment of
    chemotherapy‐induced alopecia.” Dermatologic therapy 24.4 (2011): 432-442.
 43 de Jonge, Milly E., et al. “Relationship between irreversible alopecia and exposure to

    cyclophosphamide, thiotepa and carboplatin (CTC) in high-dose chemotherapy.” Bone marrow
    transplantation 30.9 (2002): 593-597; Masidonski, Pat, Mahon, Suzanne M. “Permanent alopecia in
    women being treated for breast cancer.” Clinical journal of oncology nursing 13.1 (2009): 13-14;
    Yeager, Caroline E., and Elise A. Olsen. “Treatment of chemotherapy‐induced alopecia.”
    Dermatologic therapy 24.4 (2011): 432-442 at 438; Berglund, Gunilla, et al. “Late effects of
    adjuvant chemotherapy and postoperative radiotherapy on quality of life among breast cancer
    patients.” European Journal of Cancer and Clinical Oncology 27.9 (1991): 1075-1081 at 1078; de
    Jonge, Milly E., et al. “Relationship between irreversible alopecia and exposure to
    cyclophosphamide, thiotepa and carboplatin (CTC) in high-dose chemotherapy.” Bone marrow
    transplantation 30.9 (2002): 593-597; Jung, Mi Young, and Dong Youn Lee. “A Clinical Study of
    Chemotherapy-Induced Permanent Alopecia.” Korean Journal of Dermatology 51.12 (2013): 933-
    938; Ljungman, P., et al. “Busulfan concentration in relation to permanent alopecia in recipients of
    bone marrow transplants.” Bone marrow transplantation 15.6 (1995): 869-871.
 44 de Jonge, Milly E., et al. “Relationship between irreversible alopecia and exposure to

    cyclophosphamide, thiotepa and carboplatin (CTC) in high-dose chemotherapy.” Bone marrow
    transplantation 30.9 (2002): 593-597.


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                 Busulfan45
                 Cisplatin46
                 5-Fluorouracil47
                 Epirubicin48
                 Taxanes49
                 Gemcitabine50




 45 Bresters, D., et al. “Permanent diffuse alopecia after haematopoietic stem cell transplantation in
   childhood.” Bone marrow transplantation 52.7 (2017): 984.
 46 Miteva, Mariya, et al. “Permanent alopecia after systemic chemotherapy: a clinicopathological study
    of 10 cases.” The American Journal of dermatopathology 33.4 (2011): 345-350; Jung, Mi Young,
    and Dong Youn Lee. “A Clinical Study of Chemotherapy-Induced Permanent Alopecia.” Korean
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    Dimensions of Cancer 6.2 (1997): 85-93 at 88-89; Berglund, Gunilla, et al. “Late effects of adjuvant
    chemotherapy and postoperative radiotherapy on quality of life among breast cancer patients.”
    European Journal of Cancer and Clinical Oncology 27.9 (1991): 1075-1081 at 1078; Jung, Mi
    Young, and Dong Youn Lee. “A Clinical Study of Chemotherapy-Induced Permanent Alopecia.”
    Korean Journal of Dermatology 51.12 (2013): 933-938.
 48 Feher, O., et al. “First-line Gemcitabine Versus Epirubicin in Postmenopausal Women Aged 60 or

    Older with Metastatic Breast Cancer: A Multicenter, Randomized, Phase III Study.” Annals of
    Oncology 16.6 (2005):899-908; Kluger, Nicolas, et al. “Permanent scalp alopecia related to breast
    cancer chemotherapy by sequential fluorouracil/epirubicin/cyclophosphamide (FEC) and
    docetaxel: a prospective study of 20 patients.” Annals of oncology 23.11 (2012):2879-2884.
 49 Prevezas, C., et al. “Irreversible and severe alopecia following docetaxel or paclitaxel cytotoxic

    therapy for breast cancer.” British Journal of Dermatology 160.4 (2009): 883-885; Palamaras,
    Ioulios, et al. “Permanent chemotherapy-induced alopecia: a review.” Journal of the American
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    systemic chemotherapy: a clinicopathological study of 10 cases.” The American Journal of
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    Lee. “A Clinical Study of Chemotherapy-Induced Permanent Alopecia.” Korean Journal of
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 50 Albain, KS, et al. Gemcitabine Plus Paclitaxel Versus Paclitaxel Monotherapy in Patients With

    Metastatic Breast Cancer and Prior Anthracycline Treatment, J Clin Oncol. 2008;26:3950-57; Unal,
    Olcun Umit, et al. Two-week Combination Chemotherapy with Gemcitabine, High-dose Folinic
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    Asian Pacific Journal of Cancer Prevention. 2013;14:5263-5267.


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                 Etoposide51
                 Idarubicin52
                 Ifosfamide53
                 Melphalan54
                 Thiotepa55
     76. The term “alopecia” in medical use, includes all durations and degrees of hair loss. In
         the literature, the terms “permanent,” “irreversible,” “ongoing,” or “persistent”
         alopecia have been used to describe alopecia after chemotherapy.                   These terms,
         however, have not been used with consistency and it is my opinion that there is no
         consensus definition for any of these terms. For purposes here, I will use the term
         “persistent alopecia,” generally referring to reports of incomplete hair regrowth either
         during or after the use of certain medications, including chemotherapy. In using this
         term, it is important to be clear that patients presenting with alopecia may have
         significantly varied medical histories, genetics, risk factors for hair loss, laboratory and
         histopathological markers, and hair loss appearance, and may respond to treatments
         very differently. There are many reasons that a woman’s hair might not regrow fully
         after chemotherapy treatment.
     77. There are varying scientific and medical opinions as to w hether “permanent” or
         “persistent” alopecia following chemotherapy is a discrete form of hair loss.
         Dermatologists disagree as to whether this is a meaningful diagnosis. To arrive at this
         diagnosis, a physician would have to rule out all other potential hair loss causes and
         diagnoses. In almost all situations in which a woman has received chemotherapy,



 51 Jung, Mi Young, and Dong Youn Lee. “A Clinical Study of Chemotherapy-Induced Permanent
   Alopecia.” Korean Journal of Dermatology 51.12 (2013).
 52 Jung, MY, et al. A Clinical Study of Chemotherapy-Induced Permanent Alopecia, Korean J
   Dermatol. 2013;51(12):933-938.
 53 Jung, Mi Young, and Dong Youn Lee. “A Clinical Study of Chemotherapy-Induced Permanent
    Alopecia.” Korean Journal of Dermatology 51.12 (2013); Jäger, E., et al. “Combination of 5-
    fluorouracil, adriamycin, ifosfamide and cisplatin in metastatic adult soft tissue sarcoma: results of a
    phase II study.” Oncology 53.1 (1996): 58-63.
 54 Yang, Xinyi, and Keng‐Ee Thai. “Treatment of permanent chemotherapy‐induced alopecia with

    low dose oral minoxidil.” Australasian Journal of Dermatology 57.4 (2016): e130-e132.
 55 de Jonge, Milly E., et al. “Relationship between irreversible alopecia and exposure to

    cyclophosphamide, thiotepa and carboplatin (CTC) in high-dose chemotherapy.” Bone marrow
    transplantation 30.9 (2002): 593-597.

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         many other hair loss factors are present such as aging, hormonal changes, underlying
         or previously unnoticed medical and hair conditions, short- and long-term use of other
         medicines known to cause hair loss, and the extreme trauma and physical stress
         associated with cancer diagnosis and treatment. For each specific patient, additional
         individual risk factors may also be present. If these and all other potential causes were
         ruled out, I personally believe there could be instances of persisting alopecia
         attributable to chemotherapy.
     78. Cases of persistent alopecia have been reported with many chemotherapy drugs
         besides Taxotere. These drugs include Taxol, as well as Carboplatin, Adriamycin, and
         Cyclophosphamide (among others)—the latter three of which are included in the most
         common chemotherapy regimens that include Taxotere.56 As such, even if a patient
         did take Taxotere as part of a chemotherapy regimen, they would also have taken other
         drugs, so it is impossible to attribute any persisting alopecia specifically to Taxotere.
     79. In a small number of publications, persistent alopecia has been reported by breast
         cancer survivors treated with taxanes (including Taxol and Taxotere) at relatively high
         rates.57   These are predominantly small, retrospective analyses, not controlled,
         prospective trials. There are also published case reports by pathologists, but with
         differences in histological features. This is not the level of scientific evidence that
         dermatologists rely upon as conclusive of a causal relationship between the agent and
         hair loss, particularly where the patients vary so much in the presentation of their hair
         loss, and are on multiple medications associated with alopecia.
     80. The most reliable of these publications reports a significantly higher number of cases
         of persistent alopecia after chemotherapy with Taxol than with Taxotere. 58 Dr. Tosti



 56 Freites-Martinez, Azael, et al. “CME Part 2: Hair disorders in cancer survivors: Persistent

    chemotherapy-induced alopecia, persistent radiotherapy-induced alopecia, and hair growth
    disorders related to endocrine therapy or cancer surgery.” Journal of the American Academy of
    Dermatology (2018) at 6.
 57 Freites-Martinez, Azael, et al. “CME Part 2: Hair disorders in cancer survivors: Persistent

    chemotherapy-induced alopecia, persistent radiotherapy-induced alopecia, and hair growth
    disorders related to endocrine therapy or cancer surgery.” Journal of the American Academy of
    Dermatology (2018) at 6.
 58 Freites-Martinez, Azael, et al. “Assessment of Quality of Life and Treatment Outcomes of Patients

    with Persistent Postchemotherapy Alopecia.” Journal of the American Medical Association
    Dermatology 155.6 (2019): 724-728.


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         and I are co-authors of this study, and she was responsible for the study concept and
         design.59 The study involved 385 patients from three different institutions in the US,
         Italy, and France with alopecia after chemotherapy. 98 of these (25%) were ultimately
         reported as cases of persisting chemotherapy-induced alopecia, and another 94 (24%)
         were identified as cases of endocrine-induced alopecia after chemotherapy. In these
         later cases, patients had full hair regrowth after chemotherapy but prior to endocrine
         therapy. Another 193 patients (50%) who were initially reported with alopecia after
         chemotherapy were ultimately excluded from the study as not diagnosable with
         persisting chemotherapy-induced alopecia or endocrine therapy-induced alopecia after
         chemotherapy. Thus, only 25% of the cases initially reported with alopecia after
         chemotherapy were ultimately considered to be chemotherapy-induced persisting
         alopecia.
     81. Of these, 18 of 98 (18%) received chemotherapy regimens that did not include any
         taxane. 13 (13%) received Cyclophosphamide, Methotrexate, and Fluorouracil (CMF),
         and another 5 (5%) received Busulfan, Vincristine, Carboplatin, Lomustine, and/or
         Adriamycin.     80 received chemotherapy regimens that included taxanes.              Such
         regimens typically also include Carboplatin, Adriamycin, and/or Cyclophosphamide.
         47 of these patients (59%) had received Taxol, while only 31 of 80 (39%) had received
         Taxotere. Thus, Taxol was associated with more reports of persisting chemotherapy-
         induced alopecia than Taxotere.
     82. In addition, the study found an overall moderate to significant clinical improvement
         in 36 of 54 patients identified as having persisting chemotherapy-induced alopecia who
         were treated with topical minoxidil and/or oral spironolactone. This suggests that in
         many if not most cases, persisting alopecia following chemotherapy can be reversed.
     83. Both Taxol and Taxotere are approved for adjuvant breast cancer treatment only in
         combination with other chemotherapy agents, which may cause hair loss. Moreover,
         adjuvant chemotherapy is almost always administered in conjunction with surgical
         treatment and/or radiotherapy, which may also result in persistent or permanent hair




 59 Freites-Martinez, Azael, et al. “Assessment of Quality of Life and Treatment Outcomes of Patients

   with Persistent Postchemotherapy Alopecia.” Journal of the American Medical Association
   Dermatology 155.6 (2019): 724-728.

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         disorders.   As such, individual reports and isolated retrospective analyses are
         inadequate to establish causation in cases of persisting hair disorders among cancer
         survivors.
     84. Literature attributing long-term hair loss to chemotherapy describes this as a rare event
         associated with nearly all chemotherapy agents. Though rare, it is not new. This
         literature has been published since at least the 1980s. Literature reporting grade 4
         (“non-reversible”) alopecia with a regimen including Adriamycin (but not Taxotere or
         Cyclophosphamide) was published as early as 1998.60 Literature reporting long-term
         hair loss following adjuvant breast cancer treatment with Cyclophosphamide was
         published as early as 1991, describing patients treated as early as 1976. 61 These reports
         include patients treated before Taxotere entered the market.
     85. Trichologic medicine as a specialty has grown tremendously during this time period.
         When I began treating patients for hair loss in the 1980s, very few dermatologists in
         the world treated hair loss, and very few treatments were available.     Those that were
         available were surgical options. Consequently, few patients sought treatment for hair
         disorders, and many hair disorders were not widely reported, documented, or studied.
         Hair disorders were not well understood. Of course, people did experience hair
         disorders at this time—including incomplete hair regrowth following chemotherapy
         treatment. In reality, in the 1980s and before, many people lived with significant hair
         loss that today might be studied and treated, but did not seek medical care or even
         report it at the time due to limited treatment options.
     86. As new hair loss treatments became available, more patients sought treatment for hair
         disorders. In turn, more physicians saw and treated patients for hair loss, more
         dermatologists invested time and resources developing specialty in this area, and
         research and publication on hair loss disorders grew dramatically.            Trichologic
         medicine grew rapidly throughout the 1990s and 2000s. One cannot compare the field



 60 Northfelt, Donald, et al. “Pegylated-Liposomal Doxorubicin Versus Doxorubicin, Bleomycin, and
    Vincristine in the Treatment of AIDS-Related Kaposi's Sarcoma: Results of a Randomized Phase
    III Clinical Trial.” Journal of Clinical Oncology 16.7 (1998): 2445-2451; see also WHO Handbook
    for Reporting Results of Cancer Treatment. World Health Organization (1979) at 17-18.
 61 Berglund 1991. Berglund 1991. Berglund, Gunilla, et al. “Late Effects of Adjuvant Chemotherapy

    and Postoperative Radiotherapy on Quality of Life Among Breast Cancer Patients.” European
    Journal of Cancer 27.9 (1991):1075-81.

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         of hair loss dermatology in the 1980s and before to today. I began training my first
         hair fellow specifically in trichologic medicine in 1999, and since that time have trained
         more than 30 hair fellows in this specialty, each for at least a full year of training.
     87. Given the rapid changes and growth in trichologic medicine over the last 30+ years,
         there has been an exponential growth in the number of publications on hair disorders
         of all types, including persisting alopecia after chemotherapy. This does not mean
         there has been an increase in the occurrence of hair disorders. Likewise, an increase
         in publications on persisting alopecia after chemotherapy does not indicate that
         persisting alopecia after chemotherapy did not occur decades ago.
     88. The growth of available hair loss treatments, the number of patients seeking such
         treatment, and the number of dermatologists specializing in, studying, and publishing
         on hair disorders is one aspect of why reports of incomplete hair regrowth following
         chemotherapy may have increased since the 1980s. This is true, even though the
         chemotherapy drugs associated with incomplete hair regrowth were in use for decades
         before that.
     89. For example, the agent Busulfan has been used since the 1950s to treat bone marrow
         cancers.62 Reports of incomplete hair regrowth following Busulfan treatment began
         emerging in the 1980s, and since that time it has been frequently associated with such
         cases. This does not mean no cases of incomplete hair regrowth following Busulfan
         treatment occurred prior to the 1980s, and there is no reason to suspect that is the
         case. The same is true of other agents such as doxorubicin and cyclophosphamide.
     90. Another reason reports of incomplete hair regrowth following chemotherapy may
         have increased in recent years is the increased use of hormone-suppressing drugs
         following chemotherapy for adjuvant breast cancer treatment. Use of such drugs
         following chemotherapy has become more common and longer-lasting in the last two
         decades.       Development of targeted breast cancer treatments using hormone-




 62 Begna 2016 Begna, K. et al. “Busulfan for the treatment of myeloproliferative neoplasms: the

   Mayo Clinic experience.” Blood Cancer Journal 6 (2016): e427; see also
   https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=
   009386 (FDA approved Busulfan in 1954).


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         suppressing drugs began in the 1970s, at the same time taxanes were being developed. 63
         In 1998, research revealed significant survival advantages with long term use of
         tamoxifen for adjuvant breast cancer treatment.64 Arimidex was approved for adjuvant
         breast cancer treatment in 2002.65 Letrozole was approved for extended adjuvant
         breast cancer treatment in 2004.66 Since that time, it has been standard of care to
         prescribe such drugs for at least 5 years following chemotherapy in hormone-receptor
         positive breast cancers.67 Since approximately 2014, standard of care has included 10
         years of endocrine therapy.68
     91. These hormone-suppressing drugs, or endocrine therapies, are known to suppress hair
         growth. Because endocrine therapies operate hormonally, unlike chemotherapy, they
         are known to suppress hair growth most prominently in androgen-dependent areas of
         the scalp, causing a presentation of pattern hair loss similar to androgenetic alopecia.
         Up to 25% of patients who receive endocrine therapy for adjuvant treatment of breast
         cancer may experience long-term hair loss.69 Endocrine therapy may cause hair loss in
         patients who have never received chemotherapy, as well as patients whose hair has
         regrown following chemotherapy.70          Because of this known association, where
         endocrine therapy is initiated before hair regrows following chemotherapy, it may also
         be responsible for halting or slowing regrowth. Endocrine-induced alopecia following
         chemotherapy can present as grade 2 alopecia.71



 63 Jordan, V. Craig. “Tamoxifen as the First Targeted Long Term Adjuvant Therapy for Breast

   Cancer.” Endocrine Related Cancer 21.3 (2014): R235-R246.
 64 Jordan, V. Craig. “Tamoxifen as the First Targeted Long Term Adjuvant Therapy for Breast

   Cancer.” Endocrine Related Cancer 21.3 (2014): R235-R246.
 65 https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2002/20541se1-010ltr.pdf;
 66 https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2004/20726s011ltr.pdf
 67 See, e.g., NCCN Guidelines v.1 2004 for Adjuvant Hormonal Therapy (BINV-E).
 68 See, e.g., NCCN Guidelines. v.1 2014 for Adjuvant Hormonal Therapy (BINV-J).
 69 Freites-Martinez, Azael, et al. “Endocrine Therapy-Induced Alopecia in Patients With Breast

   Cancer.” Journal of the American Medical Association Dermatology 154.6 (2018): 670-675.
 70 Freites-Martinez, Azael, et al. “Assessment of Quality of Life and Treatment Outcomes of Patients

    with Persistent Postchemotherapy Alopecia.” Journal of the American Medical Association
    Dermatology 155.6 (2019): 724-728.
 71 Freites-Martinez, Azael, et al. “Assessment of Quality of Life and Treatment Outcomes of Patients

    with Persistent Postchemotherapy Alopecia.” Journal of the American Medical Association
    Dermatology 155.6 (2019): 724-728; Saggar, Vishal, et al. “Alopecia with endocrine therapies in
    patients with cancer.” The oncologist 18.10 (2013): 1126-1134.


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     92. Use of these drugs for many years following chemotherapy, which has become
         standard of care since the late 1990s, may help explain why reports of incomplete hair
         regrowth following chemotherapy have increased during this time. This use may also
         help explain why many reports of incomplete hair regrowth following chemotherapy
         describe the condition as presenting in a pattern similar to androgenetic alopecia, even
         though chemotherapy does not affect androgen-dependent areas of the scalp
         differently than other areas.
     93. In addition, use of endocrine therapy specifically for breast cancer may help explain
         why reports of long-term hair loss following chemotherapy treatment are most
         common in the breast cancer setting.        These endocrine therapies are indicated
         exclusively for breast cancer treatment.72 By contrast, most cytotoxic chemotherapy
         agents are indicated for treatment of multiple types of cancer. For example, in addition
         to breast cancer, Taxotere is indicated for treatment of non-small cell lung cancer
         (NSCLC), castration-resistant prostate cancer (CRPC), gastric adenocarcinoma (GC),
         and squamous cell carcinoma of the head and neck cancer (SCCHN). 73                    A
         chemotherapy agent causes hair loss in the same way no matter what type of cancer it
         is used to treat. Yet the vast majority of cases of incomplete hair regrowth following
         chemotherapy described in medical literature are reported in the breast cancer context.
         The use of endocrine therapies, which are known to suppress hair regrowth,
         predominantly in the breast cancer context may help explain this disparity.
     94. Yet another reason reports of incomplete hair regrowth following chemotherapy may
         have increased in recent years is the fact that cancer treatments overall have become
         more effective, allowing patients to live longer. The longer a patient lives after cancer
         treatment, the longer side effects may persist.      Before the development of life-
         extending cancer treatments over the last several decades, including Taxotere, many
         patients may not have lived long enough to experience long term side effects.




 72 See, e.g., https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=fa87c1c2-f58b-4a12-a658-

    a957ae7e522d (2018 Tamoxifen label);
    https://www.accessdata.fda.gov/drugsatfda_docs/label/2018/020541s031lbl.pdf (2018 arimidex
    label); https://www.accessdata.fda.gov/drugsatfda_docs/label/2018/020726s035lbl.pdf (2018
    letrozole label).
 73 Sanofi_06242623 (2018 Taxotere label).


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     95. At the same time, improved cancer treatments have improved patients’ chances and
         expectations of cancer survival. As more patients expect to survive for years after
         cancer treatment, concern about potential long term effects increases.              Patients
         confident in long-term survival are also more likely to seek and invest in hair
         treatments, which in turn increases reports and interest in incomplete hair regrowth
         after cancer.
     96. While Taxotere, like nearly all chemotherapies, does cause alopecia, it has not been
         proven to a reasonable medical probability that Taxotere itself causes permanent or
         irreversible alopecia.
     97. Literature does not indicate that Taxotere has a greater association with persisting hair
         loss following chemotherapy than other chemotherapy agents. Almost all cases of
         incomplete hair regrowth reported in literature follow treatment with multiple agents
         known to cause hair loss. In such cases, it is impossible to attribute the hair loss or
         incomplete regrowth to any one specific drug. I agree with Dr. Tosti that one can
         never make such a diagnosis “for any type of drug-induced hair loss” where multiple
         drugs are involved.74        This includes telogen effluvium as well as persistent
         chemotherapy-induced hair loss.
     98. Even among those dermatologists that consider persisting hair loss following
         chemotherapy a discrete form of alopecia, there is no consensus, evidence-based
         understanding of why or how chemotherapy could cause persisting hair loss. That is,
         there is no evidence of a biologically plausible mechanism of action for long-term hair
         loss caused by chemotherapy. It has been hypothesized that chemotherapy agents may
         in some cases damage stem cells in the hair follicle bulge, rendering the follicles unable
         to produce new hairs. This hypothesis has not been tested or confirmed by any
         controlled study.
     99. If true, this stem cell theory suggests that hair loss would be diffuse, as chemotherapy
         affects follicles on all areas of the scalp. Further, if true, this theory would suggest that
         all chemotherapy agents associated with hair loss have the potential to cause persisting
         hair loss. All chemotherapy agents that cause hair loss do so by disrupting mitosis in
         fast-growing cells, including follicle stem cells.      There is no evidence that some


 74 Tosti, A. Dep. Tr. 297:17-298:6 (Dec. 4, 2018).


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         chemotherapy agents affect stem cells physiologically differently than others. Further,
         this theory would not explain why reports of persisting hair loss are more prevalent
         among breast cancer patients than other patients treated with cytotoxic chemotherapy,
         including taxanes.
     100.         In her report on Ms. Kahn, Dr. Tosti cites a recent article by Dr. Núñez-Torres
         et al. hypothesizing that a genetic variant (ABCB1) may predispose patients to
         persistent chemotherapy induced alopecia due to an associated failure of a pump which
         helps eliminate toxins from cells.75 This study includes patients who received multiple
         chemotherapy drugs, as well as many who received hormonal therapies, and does not
         address the effect of the pump on eliminating other drugs from the patient’s cells. In
         fact, the study Supplement reports use of anthracyclines was associated with pCIA
         phenotype in the univariate analysis (p-value=5.79x10-7).76 In addition, it does not
         appear that the study controlled for androgenetic or other types of hair loss.
         Accordingly, the paper does not provide evidence that Taxotere was the cause of
         reported persistent hair loss.
     101.         There is also no medical consensus regarding the clinical or pathological
         presentation of persisting hair loss following chemotherapy. The medical literature
         that has considered persistent alopecia after chemotherapy has stated that persistent
         chemotherapy induced alopecia presents in a non-scarring fashion, except in very rare
         cases involving Busulfan. Thus, any scalp biopsy showing scarring alopecia after taxane
         therapy would not be chemotherapy induced alopecia. In addition, there is not a
         pathological diagnosis that would definitively state that a person’s alopecia is caused
         by a chemotherapy agent instead of some other cause.77 In other words, unlike
         mesothelioma or other diseases with a known cause or a “fingerprint” cause, that does
         not exist pathologically for any purported chemotherapy induced alopecia.
     102.         Further, while the majority of literature describes persisting hair loss following




 75 Núñez-Torres, Rocío et al. “Association Between ABCB1 Genetic Variants and Persistent Chemotherapy-

   Induced Alopecia inWomen With Breast Cancer.” JAMA Dermatology 156.9 (2020):987-991.
 76 Núñez-Torres, Rocío et al. “Association Between ABCB1 Genetic Variants and Persistent Chemotherapy-

   Induced Alopecia inWomen With Breast Cancer.” JAMA Dermatology Supplementary Online Content.
 77 Yang, Xinyi, and Keng‐Ee Thai. “Treatment of permanent chemotherapy‐induced alopecia with

   low dose oral minoxidil.” Australasian Journal of Dermatology 57.4 (2016): e130-e132.

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         chemotherapy as diffuse, some literature suggests that it can present in an androgenetic
         pattern. These inconsistent descriptions undermine the conception of persistent
         alopecia following chemotherapy as a distinct form of hair loss, and cast doubt on
         much of the literature reporting cases.
     103.         Because chemotherapy does not operate hormonally, there is no reason that
         chemotherapy-induced alopecia of any type would present in an androgenetic pattern.
         Chemotherapy affects all areas of the scalp. It does not spare certain areas. I agree
         with Dr. Tosti’s opinion that alopecia after chemotherapy is a “diffuse alopecia,” not
         a “patterned alopecia.”78
     104.         Cases reported in literature as persisting hair loss following chemotherapy
         presenting in an androgenetic pattern are most likely cases of androgenetic or
         endocrine-therapy related alopecia. Hair loss presenting primarily at the temples,
         front, top, and vertex of the scalp is inconsistent both with the majority of literature
         describing long-term hair loss following chemotherapy and with the known
         mechanism of action of chemotherapy-induced alopecia (i.e., anagen effluvium).
     105.         Other cases cited by Dr. Tosti as evidence of persisting alopecia caused by
         Taxotere are not in fact cases of persisting alopecia. Clinical trials of chemotherapy
         drugs designed to test for efficacy in anticancer treatment do not reliably measure rates
         of rare dermatological conditions like persisting hair loss following chemotherapy.
         Such a condition could only be identified by the differential diagnosis of a qualified
         dermatologist, after ruling out all other possible causes and types of alopecia.
     106.         The TAX 316 and GEICAM 9805 (TAX 301) Clinical Study Reports cited by
         Dr. Tosti do not report cases of persisting hair loss following chemotherapy treatment.
         The clinical studies only capture cases of “ongoing” alopecia following treatment with
         Adriamycin and Cyclophosphamide, with or without Taxotere. According to the
         interim clinical study report for TAX 316, “ongoing” does not indicate that alopecia
         has persisted for any given duration, but that the patient’s alopecia had not resolved at
         the time of last follow-up for the adverse event. Follow-up with patients in clinical
         trials may be discontinued at any point during the trial for a variety of reasons,
         including exposure to additional medications that would confound study results,


 78 Tosti, A., Kahn Report at 6, 21 (Sept. 15, 2020).


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        noncompliance of patient with follow-up, recurrence of cancer, patient death, etc.
    107.        It is clear that not all cases of “ongoing” alopecia reported in Taxotere clinical
        trial study reports consisted of alopecia persisting more than six months after
        chemotherapy. For example, patient 15002 in the TAX 316 study was followed for
        alopecia for less than six months. Patient 15002 was placed in the TAC “arm” of the
        study and received her first chemotherapy treatment on August 26, 1998. 79 Patient
        15002 developed alopecia as an adverse event. On November 3, 1998, the patient was
        no longer followed for alopecia, as noted in her case report forms. 80 In the Follow-
        Up Clinical Adverse Experiences Report, alopecia was marked with “3: no longer
        followed due to new chemotherapy regimen started.” Patient 15002 was not only
        followed for alopecia for less than six months after her last chemotherapy treatment,
        but she was no longer followed for alopecia less than six months from her first
        chemotherapy treatment. This is one example of why it is inappropriate to lump all
        of the reports of “ongoing” alopecia from the clinical studies without a review of each
        of the individual patient’s records.
    108.        I have also been asked to review a set of reports that Plaintiffs’ experts, Dr.
        Madigan and Dr. Kessler, identified as reports of permanent hair loss following
        treatment with Taxotere and rely on for their general causation opinions. Dr. Madigan
        identified reports in the FDA Adverse Event Reporting System (FAERS) by searching
        for reports that had (1) Taxotere as a drug, (2) alopecia as an adverse event, and (3)
        disability or permanent damage as the outcome. Dr. Madigan included any report that
        hit on his three criteria in his analysis and opinion. Neither Dr. Madigan nor Dr.
        Kessler, nor any other Plaintiff expert reviewed the reports to ensure Dr. Madigan’s
        methodology was appropriate and it was capturing cases of permanent hair loss. Dr.
        Madigan identified six reports in the FAERS database by the time Ms. Kahn received
        Taxotere. After reviewing the six reports, it is clear these are not reports of permanent
        alopecia. While all six reports note the patient had alopecia as an adverse event, there
        is nothing in the individual report narratives that indicate that the patients had
        permanent hair loss following Taxotere. This further emphasizes why it is important



 79 Sanofi_05503622.
 80 Sanofi_05503641.


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         to analyze each patient individually and provide a differential diagnosis by a qualified
         dermatologist.
      109.         Because many women take hormone-suppressing endocrine therapies such as
         Tamoxifen and Aromatase Inhibitors after chemotherapy and those are known to
         cause alopecia and hair thinning in an androgenetic pattern, long-term endocrine
         therapy is another complicating factor in determining whether an individual woman’s
         persistent alopecia is caused by chemotherapy or some other factor.
      110.         Pathology reflecting greater hair density at the back and sides of the scalp than
         on the top of vertex is likewise inconsistent with any diagnosis of chemotherapy-
         induced alopecia. Such pathological findings are indicative of androgenetic alopecia.
 V.      Opinions on Elizabeth Kahn’s Hair Loss
      111.         It is my opinion to a reasonable degree of medical probability that Ms. Kahn
         is experiencing androgenetic alopecia (or “AGA”). Ms. Kahn’s photographs show the
         initial stages of AGA before her chemotherapy. It is also my opinion that Ms. Kahn’s
         long-term use of Tamoxifen has likely contributed to her hair loss.
      112.         If chemotherapy was a factor associated with some portion of Ms. Kahn’s hair
         loss, it cannot be determined what portion if any of her present hair loss is associated
         with chemotherapy, much less any particular chemotherapy agent. Ms. Kahn lost her
         hair while taking Avastin, Xeloda, and Taxotere, all of which are associated with hair
         loss.81   She then immediately received four cycles of Adriamycin and Cytoxan,
         cytotoxic agents also associated with hair loss, along with two more cycles of Avastin.
         After that, she continued to take Avastin for six more months—totaling more than 13
         months of chemotherapy. Altogether, Taxotere represented approximately .5% of the
         dosage of Ms. Kahn’s chemotherapy. No hair loss of any kind can be specifically
         attributed to Taxotere.




 81 Belum V.R., et al. “Alopecia in patients treated with molecularly targeted anticancer therapies.”

 Annals of Oncology 26.12 (2015):2496-2502 at 2500; Cortes, Javier, et al. “Health-related quality of
 life in patients with locally advanced or metastatic breast cancer treated with eribulin mesylate or
 capecitabine in an open-label randomized phase 3 trial.” Breast Cancer Research and Treatment
 154.3 (2015):509-520 at 518; Koukourakis Georgios, et al. “Efficacy of the oral fluorouracil pro-drug
 capecitabine in cancer treatment: a review.” Molecules 13.8 (2008):1897-1922 at 1901-02, 1906.

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  Drug                                           Total Dosage
  Adriamycin                                     480 mg
  Avastin                                        21,375 mg
  Xeloda                                         72,050 mg
  Taxotere                                       555 mg
  Cytoxan                                        4,819 mg
  Tamoxifen                                      66,000 mg
     113.        Other factors in Ms. Kahn’s medical history potentially associated with her
         alopecia include her family history of androgenetic alopecia, menopausal status,
         potential metabolic syndrome, 9 years of endocrine therapy and other drugs that cause
         alopecia.
     114.        Ms. Kahn is a 62 year old Caucasian woman. She was diagnosed with cancer
         in her right breast in April 2008 at the age of 50.82 Ms. Kahn underwent chemotherapy,
         surgery, and radiation therapy.   Her chemotherapy was given as part of the clinical
         trial NSABP B-40. She received three phases of Adriamycin, Avastin, Cytoxan,
         Taxotere, and Xeloda from May 29, 2008 to July 16, 2009—thirteen months total. 83
         Ms. Kahn also underwent port placement and breast surgery as well as 33 treatments
         with radiation therapy.84 General anesthetic administered during each surgery can also
         be associated with alopecia. Finally, Ms. Kahn took nine years of Tamoxifen 20mg
         daily, a drug known to cause pattern alopecia similar to Ms. Kahn’s.85 Altogether she
         took Tamoxifen approximately 3,300 times for total of some 66,000 milligrams.
         K. Photographs

     115.        Photographs produced by Ms. Kahn do not support the conclusion that she is
         experiencing persisting hair loss caused by Taxotere. These photos show that her hair
         loss began prior to her chemotherapy treatment. Before chemotherapy, Ms. Kahn
         experienced hair loss at the crown, sides, and front of her scalp consistent with
         androgenetic alopecia.



 82 Ochsner Health System 556831-34.
 83 Infusion Pharmacy Ochsner Health System 43-60.
 84 Ochsner Health System 939-940, 1161-1163, 1180.
 85 CVS Pharmacy 2, 17.


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       A                                                   B




         A: Ms. Kahn in Sept. 2005, showing crown thinning more than 2 years before chemotherapy.
 B: Ms. Kahn in Dec. 2006, showing significant thinning in the side area more than a year before chemotherapy.

                      C




  C: Ms. Kahn on May 21, 2008, showing significant thinning in the frontal area 8 days before the start of her
                                       chemotherapy treatment.

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     116.          Photographs further show that Ms. Kahn experienced significant hair
          regrowth following her chemotherapy treatment. To the extent these photos show
          any persisting hair loss, they reflect hair loss at the front, sides and crown consistent
          with androgenetic alopecia and with Ms. Kahn’s appearance prior to chemotherapy.


            D                                                 E




 D: Ms. Kahn in June 2009, showing frontal regrowth to pre-chemo status 11 months after Taxotere treatment.
 E: Ms. Kahn in Oct. 2009, showing frontal regrowth to pre-chemo status 15 months after Taxotere treatment.
     F                                                G




    F: Ms. Kahn in June 2010, showing side and crown regrowth similar to pre-chemo status 23 months after
  Taxotere treatment. G: Ms. Kahn in Oct. 2010, showing side regrowth similar to pre-chemo status more than
                                     two years after Taxotere treatment.

     117.          Photos showing thinning at the front, sides and crown of Ms. Kahn’s scalp

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         before and after chemotherapy are virtually indistinguishable. In her deposition. Dr.
         Tosti identified photos E, F, and G above as taken “definitely before” Ms. Kahn’s
         chemotherapy, when in fact they were taken after.86 She was unable to say when photo
         C was taken. Similarly, friends who have personally known Ms. Kahn for years were
         unable to distinguish between photos of Ms. Kahn taken before and after
         chemotherapy. Friend JoAnn Moinet estimated that photo F was taken “before cancer
         treatment” because Ms. Kahn “seems to have a lot of hair.” 87 Kenneth Smith, Ms.
         Kahn’s hairdresser of 30 years, was unable to say whether photo C was taken before
         or after her chemotherapy, noting that it showed “a different density in the front of
         her hair than the back of her hair,” and concluding that “it could have been before,
         but it could be maybe a year or two afterwards.” 88 This testimony from Dr. Tosti and
         those who personally observed Ms. Kahn before and after chemotherapy is wholly
         inconsistent with the conclusion that the present condition of her hair was caused by
         Taxotere.
     118.         Notations of hair loss in Ms. Kahn’s medical records likewise do not support
         a finding of persistent hair loss caused by Taxotere. Because Ms. Kahn received
         chemotherapy as part of a clinical trial, she was specifically monitored for adverse
         events during and following her treatment, and her experience with such events was
         carefully documented.89 Ms. Kahn lost her hair during initial chemotherapy, as
         expected. Ms. Kahn’s oncologist Dr. Zoe Larned noted hair loss on June 19, 2008,
         following her first cycle of chemotherapy, and throughout her first eight cycles of
         treatment (with Avastin, Xeloda, and Taxotere in combination followed by
         Adriamycin, Cytoxan, and Avastin in combination).90 After the first eight cycles and
         her breast surgery, Ms. Kahn continued Avastin and also underwent radiation therapy.
         About month after the fourth and final cycle with Adriamycin and Cytoxan, Dr.




 86 Tosti, A., Dep. Tr. 153:14-23 (Sept. 29. 2020).
 87 Moinet, J., Dep. Tr. 87:22-89:2 (March 6, 2020).
 88 Smith, K., Dep. Tr. 84:1-86:11 (March 9, 2020).
 89 Breaux Dep. Tr. 35:16-36:7; 48:6-49:3.
 90 Ochsner Health System 969-972, 991-993, 1000, 1005-1007, 1026 (Dr. Joseph Phillips), 1037-1039,
   1050-1051, 1057.


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         Larned again noted that Ms. Kahn was positive for alopecia.91 Then about a month
         and a half after that, on January 8, 2009, Dr. Larned noted that Ms. Kahn’s “hair is
         growing back in.” 92 Three weeks later on January 29, and again on February 19, 2009,
         Ms. Kahn’s clinical trial oncology nurse Melanie Zazulak Breaux reported “alopecia
         resolved” in her encounter records.93 Nurse Breaux testified these notes meant Ms.
         Kahn did “not have alopecia” at that time, and that further records indicated Ms. Kahn
         did not have alopecia for the remainder of her treatment by nurse Breaux through
         August 13, 2009.94 Other medical records from the summer of 2009 confirm that Ms.
         Kahn’s hair was regrowing.95 On August 13, 2009, Dr. Larned noted that Ms. Kahn
         was “pleased that her hair is growing back.” 96
     119.        At the same time Ms. Kahn’s medical records document her hair regrowth, she
         had begun taking Tamoxifen. In April 2009, Ms. Kahn was prescribed Tamoxifen
         daily for ten years; she ultimately took it for nine.97 As an estrogen suppressing drug,
         Tamoxifen is known to cause hair loss and inhibit hair growth along with other side
         effects similar to menopause. These side effects often progress or intensify months
         or years after treatment is begun. Ms. Kahn’s medical records reflect this experience.
         Starting in late 2009 (more than a year and a half after she finished Taxotere, and about
         seven months after she started Tamoxifen), Dr. Larned’s records begin noting
         complaints by Ms. Kahn about her hair, including the repeated statement that Ms.
         Kahn “still notes thinning hair.”98 Dr. Larned records this complaint throughout 2010
         and 2011 to early 2012, when she notes that the thinning has gotten “slightly better.” 99
         There does not appear to be any mention of Ms. Kahn’s hair in any of her medical
         records between 2012 and 2016, but records of encounters with Dr. Kristin Johnson




 91 Ochsner Health System 1071-1073.
 92 Ochsner Health System 1213-1217.
 93 Ochsner Health System 1227, 1233.
 94 Breaux Dep. Tr. 63:12-68:19, 83:4-84:11.
 95 Ochsner Health System 1253-1255, 1267 1285.
 96 Ochsner Health System 1295.
 97 CVS Pharmacy 2, 17.
 98 Ochsner Health System 1324-1326, 1334-1339, 1362-1364, 1385-1387, 1405-1406, 1414-1416,

 1433-1435, 1511-1513, 1533-1534.
 99 Ochsner Health System 1511-1513, 1533-1534.




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          (internist) in 2016 and 2017 note “thin” hair and alopecia.100 Records and testimony
          from Ms. Kahn’s medical providers indicate she never raised alopecia as a concern
          with any physician except Dr. Larned and never sought treatment for hair loss.101
       120.      Records that Ms. Kahn’s hair was “thinning” from late 2009 to early 2012 do
          not support a finding of persisting alopecia caused by Ms. Kahn’s Taxotere treatment
          in 2008. There is no reason Ms. Kahn’s hair would be “thinning” due to Taxotere
          more than a year and a half after she completed her Taxotere treatment. On the other
          hand, hair thinning from late 2009 to 2012 is fully consistent with endocrine-induced
          hair loss related to her ongoing treatment with Tamoxifen.
       121.      Ms. Kahn experienced other health conditions associated with Tamoxifen
          during this same timeframe, further suggesting that Tamoxifen contributed to her hair
          loss. In April 2011, Ms. Kahn was referred to Dr. Charles Farris for “multiple
          complaints” including “hot flashes, mood swings, memory loss, libido changes, night
          sweats and insomnia,” all of which are associated with Tamoxifen use, along with
          pattern hair loss.102 After counselling, Dr. Farris prescribed Ms. Kahn testosterone
          gel, which is also strongly correlated with pattern hair loss. 103 Both the menopause-
          like symptoms and the testosterone treatment are consistent with causing pattern hair
          loss, and the timing of each is consistent with progressive hair loss that worsened one
          to two years after Ms. Kahn’s hair regrew following chemotherapy. 104 These potential
          causes and their timing are inconsistent with persistent hair loss caused by Taxotere.
          L. Family History of Hair Loss

       122.      Ms. Kahn has a family history of hair loss. Ms. Kahn reports androgenetic
          alopecia in her paternal grandfather, father, brother, and nephew, as well as hair
          thinning in her mother.105 Photographs produced by Ms. Kahn confirm family history
          of severe androgenetic alopecia and thinning:




 100 Ochsner Health System 622-631; Ochsner Center for Primary Care and Wellness 97-112.
 101
 102 Ochsner Health System 1421.
 103 CVS Pharmacy 8.
 104 Smith, K., Dep. Tr. 84:1-86:11 (March 9, 2020).
 105 Tosti, A. Kahn Report Ex. F (Sept. 4, 2020); Turegano, M. exam record at 1-2 (Sept. 22, 2020).


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  H                                 I                                   J




         H: Ms. Kahn’s father in 2009. I: Ms. Kahn’s brother in 2017. J: Ms. Kahn’s mother in 2018.
      123.       Ms. Kahn’s blog entries during and after her cancer treatment confirm her
         family history of hair loss and her patterned alopecia. During her chemotherapy in
         June 2008, Ms. Kahn noted that in her family, “bald is a very common look.” After
         her treatment with Adriamycin and Cytoxan was completed, but while she was still
         taking Avastin, Ms. Kahn stated she was “working on the hairdo” and that “[i]f you
         know my family then you know that I come by baldness naturally.” Later, in August
         2009, Ms. Kahn reported having her “first haircut since June of 2008.” She explained
         she had “waited as long as possible to do so” but that “[t]he sides were going crazy as
         was the back.” She stated: “I love the fact that I don't need to cover my head just to
         walk out my front door.” Ms. Kahn did report disappointment in “the current
         thinness” in her blog at the time of the haircut, which was six months after she began
         taking Tamoxifen.
         M. Clinical Presentation

      124.       Despite visiting dermatologist Dr. Jessica Coller-Ochsner for issues including
         moles, skin lesions, shingles, actinic keratosis, and itching multiple times between 2012
         and 2018, Ms. Kahn had never raised alopecia as a concern and had never seen any
         dermatologist for hair loss until recent examinations by Dr. Tosti and Dr. Mamina
         Turegano as part of this litigation.
      125.       Both Dr. Tosti and Dr. Turegano observed hair loss in an androgenetic




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          pattern, most pronounced at the frontal, vertex, and bitemporal areas.106 Both also
          observed the presence of miniaturized hair, a feature of androgenetic alopecia.107 In
          addition, Dr. Tosti noted that trichoscopy showed most follicles producing single
          hairs, and the presence of yellow dots, which are trichoscopic features of androgenetic
          alopecia.108 Dr. Turegano additionally noted hair growth on the face and areolae, and
          Ms. Kahn reported a history of this predating chemotherapy.109 Hair growth in these
          hormone-sensitive areas can also be associated with androgenetic alopecia.
     126.          Dr. Tosti’s clinical observations support a diagnosis of androgenetic alopecia
          and suggest hair loss related to Ms. Kahn’s Tamoxifen use. Dr. Tosti observed that
          Ms. Kahn’s hair loss was “more pronounced on androgen dependent scalp.”110 This
          finding supports a diagnosis of androgenetic alopecia.           Chemotherapy does not
          operate hormonally, anagen effluvium does not present as pattern hair loss, and there
          is no known medical reason why chemotherapy would cause an androgenetic pattern
          of hair loss. Tamoxifen does operate hormonally and is well-understood to cause hair
          loss in an androgenetic pattern, so this finding also suggests that Tamoxifen may have
          contributed to Ms. Kahn’s hair loss.
     127.          On trichoscopy, Dr. Tosti also observed “reduced hair density with marked
          reduction of hair shaft diameter,” “miniaturized hair,” “most hair emerging as a single
          hair,” “yellow dots,” and “no signs of scarring.” 111 These observations further support
          a diagnosis of androgenetic alopecia and/or hair loss related to Tamoxifen. These
          findings are consistently associated with androgen-influenced hair loss, especially on
          trichoscopy.112
     128.          Dr. Tosti reported observing eyebrow loss and cited this in support of finding
          persistent chemotherapy-induced hair loss, but her clinical photograph of Ms. Kahn’s




 106 Tosti, A. Kahn Report Ex. F at 2 (Sept. 4, 2020); Turegano, M. exam record at 2 (Sept. 22, 2020).
 107 Tosti, A. Kahn Report Ex. F at 2 (Sept. 4, 2020); Turegano, M. exam record at 2 (Sept. 22, 2020).
 108 Tosti, A. Kahn Report Ex. F at 2 (Sept. 4, 2020).
 109 Turegano, M. exam record at 1, 3 (Sept. 22, 2020).
 110 Tosti, A. Kahn Report Ex. F at 2 (Sept. 4, 2020).
 111 Tosti, A. Kahn Report Ex. F at 2 (Sept. 4, 2020).
 112 Rudnicka, Lydia, et al., eds.
                              Atlas of Trichoscopy: Dermoscopy in Hair and Scalp Disease.
   Springer pub., 2012 ISBN 978-1-4471-4485-4.


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         face shows that eyebrows are present and within normal limits.113 In fact, photographs
         prior to the chemotherapy show eyebrow thinning in the medial area which is still
         visible in Dr. Tosti’s clinical photographs.114
     129.         Dr. Tosti’s conclusion that Ms. Kahn is experiencing permanent alopecia after
         chemotherapy appears to be based on Ms. Kahn’s representation that she had
         “incomplete regrowth after end of chemotherapy, which remained stable in the
         years.”115   This representation is inconsistent with Ms. Kahn’s photographs and
         medical records, as reflected by Dr. Tosti’s testimony that post-chemotherapy photos
         E, F, and G above were “definitely before” chemotherapy.116 This inconsistency
         undermines Dr. Tosti’s conclusion that Ms. Kahn’s current hair loss was caused by
         chemotherapy.
     130.         Dr. Turegano’s clinical observations support her conclusion that Ms. Kahn is
         experiencing androgenetic alopecia and postmenopausal/senescent hair thinning likely
         influenced by genetics, aging, and use of drugs including Tamoxifen and testosterone
         gel. I agree with this conclusion. Ms. Kahn reported to Dr. Turegano that she has
         always had “fine and thin hair, which is why she always kept it short,” and reported “a
         history of few coarse facial hairs that she would have to pluck (once a month or so)
         prior to chemotherapy and currently,” and “a history of hair around her areolae” prior
         to chemotherapy.117 These observations are consistent with androgenetic alopecia
         predating chemotherapy, along with photos A-C above. Dr. Turegano’s photographs
         and observations reflect a textbook androgenetic alopecia pattern, and Ms. Kahn’s
         family history of AGA, estrogen-suppressing and testosterone-promoting drug use,
         and evident hirsutism all support a finding of androgen-related hair loss.118




 113 Tosti, A. Kahn Report Ex. F at photo 15324.
 114 Photos A, B, and C above.
 115 Tosti, A. Kahn Report Ex. F at 2 (Sept. 4, 2020).
 116 Tosti, A., Dep. Tr. 153:14-23 (Sept. 29. 2020).
 117 Turegano, M. exam record at 2 (Sept. 22, 2020).
 118 Turegano, M. exam record at 3 (Sept. 22, 2020).


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              Left: Ms. Kahn in Sept. 2020. 119 Right: Textbook AGA with frontal accentuation.120
          N. Trichoscopy

     131.          The trichoscopic photographs produced by Dr. Tosti are of little value, since
          they were not taken at a sufficient degree of magnification. Nevertheless, the photos
          are consistent with features seen in androgenetic alopecia, including non-scarring
          alopecia, reduced hair shaft density, variability in hair shaft diameter, follicles
          producing a single hair shaft, and yellow dots.121
     132.          The trichoscopic photographs are not of sufficient magnification to show the
          presence or absence of ostia. If ostia were absent, that would indicate scarring hair
          loss, which is not consistent with a diagnosis of permanent hair loss due to Taxotere.
     133.          Although it is not clear where on Ms. Kahn’s scalp each of Dr. Tosti’s
          trichoscopic photographs was taken, the photos as a whole show significant
          differences in hair shaft density from some locations to others. This further supports
          a finding of androgenetic and Tamoxifen-related hair loss, rather than chemotherapy-
          induced hair loss. Unlike androgens and hormone-suppressing drugs, chemotherapy



 119 Turegano, M. exam record at 5 (Sept. 22, 2020).
 120 Shapiro, Jerry. “Hair loss in women.” New England Journal of Medicine 357.16 (2007): 1620-1630

   at 1622.
 121 Rudnicka, Lydia, et al., eds.
                              Atlas of Trichoscopy: Dermoscopy in Hair and Scalp Disease.
   Springer pub., 2012 ISBN 978-1-4471-4485-4.

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          does not operate hormonally and would not cause patterned hair loss.




   Trichoscopy of androgenetic alopecia showing reduced density, hair shaft variability and miniaturization.122




     Trichoscopy of Ms. Kahn’s scalp showing reduced density, hair shaft variability and miniaturization.123




 122 Rudnicka, Lydia, et al., eds.
                                Atlas of Trichoscopy: Dermoscopy in Hair and Scalp Disease.
 Springer pub., 2012 ISBN 978-1-4471-4485-4.
 123 Tosti, A. Kahn Report Ex. F at photo 15314.


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                     Trichoscopy of Ms. Kahn’s scalp showing denser, thicker hairs.124
     134.        Dr. Tosti’s trichoscopy does not support a diagnosis of chemotherapy-induced
         alopecia. There are no consensus features observable on trichoscopy of persistent
         alopecia following chemotherapy.
         O. Pathology

     135.        Dr. Tosti took two biopsies of Ms. Kahn’s scalp, one from the frontal scalp
         (A) and one from the vertex (B) – the areas of most advanced hair loss. No biopsy
         was taken from the occiput, where hair density appeared normal. Such a biopsy would
         help contrast areas of hair loss from normal scalp. The biopsies were reviewed by Dr.
         Curtis Thompson and Dr. Chandra Smart.
                 a. Pathology Report – Dr. Curtis Thompson

     136.        Dr. Thompson found non-scarring alopecia on biopsies A and B. He observed
         miniaturized follicles, follicular density of 2.23/mm 2, a terminal to vellus ratio of about
         1:2, and an anagen to catagen/telogen ratio of 75%/25% for biopsy A.125 All of these
         findings are consistent with androgenetic alopecia.              I do not normally measure
         follicular density in terms of square millimeters, but normal hair density is 180-240



 124 Tosti, A. Kahn Report Ex. F at photo 15320.
 125 Thompson, C. Kahn Report Exhibit E at 2.


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         hairs per square centimeter. If there are 100 square millimeters per square centimeter,
         Ms. Kahn’s follicular density from biopsy A appears to be 223 follicles/cm 2, within
         normal range.     Based on biopsy A, Dr. Thompson diagnosed Ms. Kahn with
         androgenetic alopecia.126 I agree with this diagnosis.
     137.        Dr. Thompson observed follicular density of 1.35/mm 2, a terminal to vellus
         ratio of 1:>2, and an anagen to catagen/telogen ratio of 65%/35% for biopsy B. 127 If
         there are 100 square millimeters per square centimeter, Ms. Kahn’s follicular density
         from biopsy A appears to be 135 follicles/cm 2, which is below normal but consistent
         with androgenetic alopecia. These findings are likewise consistent with androgenetic
         alopecia, as they are consistent with the findings for biopsy A. However, based on
         biopsy B Dr. Thompson diagnosed Ms. Kahn with permanent chemotherapy-induced
         alopecia. 128 I do not agree with this diagnosis. Medical literature establishes that lower
         follicular density, a shift in terminal/vellus ratio, as well as a decreased anagen to
         catagen/telogen ratio are indicative of androgenetic alopecia.           An increase or
         progression in these metrics does not convert androgenetic alopecia into persistent
         chemotherapy induced alopecia. A difference in these metrics from one sample to
         another suggests pattern hair loss and a more advanced androgenetic process in one
         location than another—consistent with AGA but not with chemotherapy-induced hair
         loss.
     138.        Dr. Thompson’s report of “empty follicular stela” and “permanent follicular
         loss” does not change this analysis. Dr. Thompson’s expert report cites “permanent
         follicular loss” as a basis to rule out female pattern hair loss (androgenetic alopecia),
         chronic telogen effluvium, seborrheic dermatitis, and other types and causes of hair
         loss.129 Dr. Tosti also cites “loss of hair follicles” and reduction in the number of hair
         follicles as a basis to exclude other forms of hair loss.130 Findings of follicular loss or
         “permanent follicular loss” are inconsistent with a finding of non-scarring alopecia.
         Permanent follicular loss is scarring. If a follicular opening is lost or destroyed, the



 126 Thompson, C. Kahn Report Exhibit E at 1.
 127 Thompson, C. Kahn Report Exhibit E at 3.
 128 Thompson, C. Kahn Report Exhibit E at 1.
 129 Thompson, C. Kahn Report at 4.
 130 Tosti, A. Kahn Report at 29-32.


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          scalp is scarred and hair loss is permanent. If follicular openings are present but no
          hair is coming out, the follicles are not truly lost, but are empty or filled with stelae
          (fibrous streamers). Empty follicles are consistent with a diagnosis of androgenetic
          alopecia. Dr. Thompson’s findings support a diagnosis of androgenetic alopecia for
          both biopsies A and B.
                  b. Pathology Report – Dr. Smart:

       139.       Dr. Smart’s pathology indicates non-scarring alopecia on both biopsies A and
          B. Like Dr. Thompson, she observed miniaturized follicles, reduced follicular density,
          a reduced terminal to vellus ratio and a sub-normal anagen to catagen/telogen ratio
          for both biopsies.131 All of these findings are consistent with androgenetic alopecia.
          Based on these biopsies, Dr. Smart diagnosed Ms. Kahn with androgenetic alopecia. 132
          I agree with this diagnosis.
 VI.      Differential Diagnosis

       140.       It is my opinion to a reasonable degree of medical probability that Ms. Kahn’s
          hair loss at the frontal and vertex areas of her scalp is consistent with androgenetic
          alopecia and alopecia from Ms. Kahn’s 9-year use of hormonal therapy. These types
          of alopecia present in a distinct pattern affecting the front and vertex of the
          scalp. These areas of the scalp are sensitive to androgens, hormones which vary with
          age, genetics and hormone-modifying medications. Ms. Kahn has an extensive family
          history of androgenetic hair loss, and photographs from before and after
          chemotherapy as well as medical records and witness testimony reflect progressive hair
          loss beginning prior to cancer treatment, regrowth to pre-chemotherapy levels
          following chemotherapy, and then progressive hair loss over the course of several
          years of Tamoxifen (Fig. 8).
       141.       In addition, Ms. Kahn has several other factors associated with alopecia that
          likely contributed to her hair loss, including Vitamin D deficiency, age, metabolic
          syndrome, being post-menopausal, and use of medications including testosterone gel.
       142.       Despite reporting that her hair loss has persisted for over 10 years, Ms. Kahn



 131 Smart, C. Kahn Surgical Pathology Report at 1-2.
 132 Thompson, C. Kahn Report Exhibit E at 1.


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       has not tried any potentially effective treatments, including topical minoxidil, and oral
       spironolactone which has helped many women improve hair growth in androgenetic
       pattern areas. Without trying potentially effective treatments over a sufficient time
       period, Ms. Kahn’s condition cannot be characterized as permanent or irreversible to
       a reasonable medical probability. In my opinion, Ms. Kahn’s hair loss could improve
       with appropriate treatment.




 October 9, 2020




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                                                                  FIGURE 8 – TIMELINE OF MS. KAHN’S HAIR L OSS, REGROWTH, AND THINNING
        1990                12/27/2006         5/21/2008              5/29/2008            6/30/2009                  6/21/2010                    2014                1/28/2015               8/4/2017              2/18/2020




Early 30s: no evident                                                First Day of      11 months post-           2 years post-Taxotere,    After 4+ years of       Pattern hair loss      Lawsuit photos show   Pattern hair loss
thinning                                                            Chemotherapy       Taxotere hair appears     1+ years into             Tamoxifen and           progresses over time   classic, textbook     continues to be
                                                                                       similar to before         Tamoxifen, sides          reported hormonal                              pattern hair loss     present
                                                                                       chemo, but Tamoxifen      appear intact             changes, pattern hair
                                                                                       started 2 months prior                              loss is evident
                        Pattern density    Frontal thinning
                        difference

                    Hair Loss Label Language                       5/29/2008       7/31/2008
                                                                   Taxotere, Avastin, Xeloda
Tamoxifen: “Other adverse reactions which are infrequently
seen are … hair thinning and/or partial hair loss....”                             8/21/2008      10/23/2008
                                                                                  Adriamycin, Cytoxan, Avastin
Testosterone (Testim): “Testim is not indicated for use in
women, has not been evaluated for use in women, and must                                        1/29/2009
not be used in women.” At 24: “Signs and symptoms in                                        “Alopecia Resolved”
women may include: changes in body hair.”
                                                                                                         4/2/2009                                                                                          5/2018
Xeloda: “the most common side effects of Xeloda are: …                                                                                    Tamoxifen (associated with pattern hair loss)
hair loss.”
                                                                                                                    11/16/2009            2/28/2012
Adriamycin: “Reversible complete alopecia occurs in                                                                 Hair complaints, “Thinning hair”
most cases.”
                                                                                                                                   4/2011
                                                                                                                                       Menopause-like symptoms
Cytoxan: “Alopecia occurs commonly in patients with
cyclophosphamide. The hair can be expected to grow
back after treatment with the drug or even during continued                                                                                     6/4/2011
treatment, though it may be different in texture or                                                                                                     Testim (Testosterone)
color.”
                                                                                                                                                                              6/2016           6/2017
                                                                                                                                                                              “Hair thin”, “Alopecia”




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 FIGURE 9 – LUDWIG SCALE




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 FIGURE 10 – SAVIN SCALE




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 FIGURE 11 – NORWOOD-HAMILTON SCALE




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